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                    EXHIBIT
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 209 Capitol Street
 Charleston, WV 25301
 Tel: 304.345.6555
 Toll Free: 877.852.0342
 Fax: 304.342.1110

                                                                               December 18, 2021

LTL Management Talc Creditors' Committee                              Invoice #:          86189
                                                                      Client #:         TCC0001
                                                                      Matter #:         2003717

________________________________________________________________________________________

                                             INVOICE SUMMARY
For professional services rendered through December 15, 2021:

RE:   LTL Bankruptcy

                       Professional Services                    $ 867,462.50
                       Total Expenses Advanced                   $ 17,967.57

                       TOTAL THIS INVOICE                       $ 885,430.07
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Talc Creditors Committee                                                                                 December 18, 2021
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PROFESSIONAL SERVICES RENDERED


B110 Case Administration

    Date   Init   Task     Actv   Description of Service                                         Hours      Rate    Amount
11/12/21   BAG    B110            Call with committee member on local counsel.                     .10    975.00      97.50
           BAG    B110            Call with potential local counsel.                               .20    975.00     195.00
           KB     B110            Conference call with Brown Rudnick, Glasser and                  .50    975.00     487.50
                                  Bennett re division of labor on initial matters, including
                                  committee bylaws and structure.
           MBB    B110            Prepare notice of appearance and demand for service of           .30    550.00     165.00
                                  papers and prepare PHV motions.
           JEK    B110            Draft motions to appear pro hac vice for B. Glasser, K.         1.80    325.00     585.00
                                  Barrett, T. Bennett and M. Burrus.
11/14/21   CLJ    B110            Review debtor informational brief and First Day                 2.00    750.00   1,500.00
                                  declaration.
11/15/21   KB     B110            Review memorandum drafts and final.                              .20    975.00     195.00
           CLJ    B110            Review research, re: opposition to informational brief.         1.00    750.00     750.00
           JEK    B110            Telephone calls to and from NJ Bankruptcy Court Clerk's          .20    325.00      65.00
                                  office regarding pro hac vice motions for transferred
                                  case.
11/16/21   BAG    B110            Call with Moulton and Stark on upcoming Jones Day                .20    975.00     195.00
                                  meet and confer.
           KEC    B110            Strategy communication with members of Creditors                 .60    750.00     450.00
                                  Committee counsel regarding document needs related
                                  to drafting of responses to Informational Brief.
           KB     B110            Email and text correspondence with Glasser and Burrus            .20    975.00     195.00
                                  re committee meeting and allocation of tasks.
           MBB    B110            Review committee meso and OC materials to facilitate            2.00    550.00   1,100.00
                                  preparation of introductory brief.
           JEK    B110            Draft motions for admission pro hac vice for K. Barrett, B.      .80    325.00     260.00
                                  Glasser, M. Burrus and T. Bennett and e-mail to M.
                                  Burrus.
11/17/21   KEC    B110            Analysis of documents related to drafting of responses to       1.60    750.00   1,200.00
                                  Informational Brief.
           KB     B110            Confer with B Glasser re work assignments and status             .20    975.00     195.00
                                  conference with court.
           KB     B110            Review and revise pro hac application and email                  .20    975.00     195.00
                                  correspondence with J Kittinger re same.
           CLJ    B110            Draft medical section for initial brief to court.               1.50    750.00   1,125.00
           MBB    B110            Prepare portions of introductory brief.                         9.40    550.00   5,170.00

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    Date   Init   Task     Actv   Description of Service                                       Hours      Rate    Amount
           JEK    B110            Revise motions for admission pro hac vice for K. Barrett,      .80    325.00     260.00
                                  B. Glasser, M. Burrus and T. Bennett and e-mail to M.
                                  Burrus.
11/18/21   BAG    B110            Edits to science section of the response to the LTL           1.10    975.00   1,072.50
                                  informational brief and email traffic and calls on same.
           KEC    B110            Communication with Committee member                           1.20    750.00     900.00
                                  representatives regarding drafting projects and
                                  committee business.
           DLS    B110            Review Draft Response to LTL Information Brief, Science        .50    750.00     375.00
                                  Section. Edits to Draft. Communications Re Edits with
                                  Brian Glasser.
           KB     B110            Confer with M Burrus re informational brief.                   .20    975.00     195.00
           CLJ    B110            Review documents and draft medical section for initial        9.00    750.00   6,750.00
                                  informational brief.
           MBB    B110            Continue preparation of introductory brief.                   6.50    550.00   3,575.00
           JEK    B110            Prepare in person appearance forms for T. Bennett and          .40    325.00     130.00
                                  B. Glasser
11/19/21   BAG    B110            Edit and circulate Committee opening statement along           .90    975.00     877.50
                                  with email traffic on same.
           KEC    B110            Communications with committee representatives and              .80    750.00     600.00
                                  counsel regarding response to Informational Brief and
                                  representative refiling.
           KB     B110            Review Committee's initial statement and email                 .40    975.00     390.00
                                  correspondence from co-counsel re same.
11/20/21   DLS    B110            Telephone Conference with Brian Glasser: Preparation           .30    750.00     225.00
                                  for 11/22 Hearing.
           CLJ    B110            Review and edit initial brief.                                 .50    750.00     375.00
11/21/21   BAG    B110            Call among core counsel to assign roles and                    .30    975.00     292.50
                                  responsibilities for tomorrow's 11/22/21 hearing.
           BAG    B110            Draft and circulate for comment my remarks for the             .70    975.00     682.50
                                  hearing tomorrow.
11/22/21   BAG    B110            Preapre for and attend first hearing in Trenton.              4.50    975.00   4,387.50
           KEC    B110            Attend via Zoom initial hearing in New Jersey for the         1.50    750.00   1,125.00
                                  transition to new jurisdiction.
           CLJ    B110            Attend NJ Bankruptcy hearing remotely.                        1.50    750.00   1,125.00
           TBB    B110            Preparing for and participating in first hearings in New      1.50    975.00   1,462.50
                                  Jersey bankruptcy court.
           MBB    B110            Attend status conference remotely.                            1.50    550.00     825.00
           DTM    B110            Attend first hearing with NJ BK court via remote access.      1.50    750.00   1,125.00
11/23/21   BAG    B110            Email to committee on strategy point.                          .10    975.00      97.50



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Talc Creditors Committee                                                                               December 18, 2021
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    Date   Init   Task     Actv   Description of Service                                       Hours      Rate    Amount
11/24/21   BAG    B110            Review and edit agreement for the committee and                .60    975.00     585.00
                                  circulate same for comment.
           KB     B110            Email correspondence with D Stolz, D Clarke, J Kittinger       .20    975.00     195.00
                                  and B Glasser re notice of appearance in adversary
                                  proceeding.
           KB     B110            Review and revise draft notice of appearance and email         .20    975.00     195.00
                                  correspondence with Bennett and Kittinger re same.
           MBB    B110            Confer with co-counsel re: extension of Debtor's               .10    550.00      55.00
                                  deadline to file schedules to Dec 6.
           JEK    B110            Finalize for filing and e-file notice of appearance in an      .60    325.00     195.00
                                  adversary proceeding.
12/01/21   BAG    B110            Meeting among counsel to go over agenda for                    .50    975.00     487.50
                                  committee meeting.
           KB     B110            Review committee bylaws and email correspondence re            .10    975.00      97.50
                                  same.
           KB     B110            Counsel call re pending matters and upcoming                   .30    975.00     292.50
                                  committee call.
           MBB    B110            Meeting with committee representatives re: case               2.00    550.00   1,100.00
                                  strategy.
           JEK    B110            E-mails to and from B. Glasser and T. Bennett regarding        .20    325.00      65.00
                                  agenda for hearing on December 2, 2021.
12/02/21   TBB    B110            Review of submissions for potential financial advisors.       1.10    975.00   1,072.50
           JEK    B110            Review docket and upload case documents and                    .80    325.00     260.00
                                  correspondence.
12/03/21   MBB    B110            Call with committee counsel re: FAs.                          1.10    550.00     605.00
           JEK    B110            Retrieval of case document and correspondence.                 .50    325.00     162.50
           JEK    B110            Prepare forms and coordinate payment of Pro Hac Vice           .50    325.00     162.50
                                  fee for B. Glasser and T. Bennett
12/06/21   BAG    B110            Call with core co-counsel on UST letter response.              .50    975.00     487.50
           KB     B110            Review draft objection to QSF motion.                          .20    975.00     195.00
           JEK    B110            Retrieval of correspondence and court filings.                 .50    325.00     162.50
12/07/21   TBB    B110            Review and approval of revised motion for limited              .20    975.00     195.00
                                  objection to proposed foreign representative.
           TBB    B110            Review and approval of objection to qualified settlement       .30    975.00     292.50
                                  fund trust.
           JEK    B110            Retrieval of case document and correspondence.                 .40    325.00     130.00
           JEK    B110            Register B. Glasser for telephonic hearing scheduled for       .20    325.00      65.00
                                  December 7, 2021.
12/08/21   BAG    B110            Call with Moulton on issues for the committee to               .20    975.00     195.00
                                  consider.



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    Date   Init   Task     Actv   Description of Service                                      Hours      Rate    Amount
           DLS    B110            Review Supplemental Conflicts Check. Comment on               .20    750.00     150.00
                                  Same.
           KB     B110            Review schedules.                                             .40    975.00     390.00
           KB     B110            Confer with M Burrus re counsel and committee calls.          .30    975.00     292.50
           JEK    B110            Update case calendar regarding hearings and deadlines.        .20    325.00      65.00
12/09/21   KB     B110            Email correspondence with co-counsel and BG team re           .20    975.00     195.00
                                  bankruptcy filings and effect on discovery and hearings.
           KB     B110            Review various objections filed to pending motions,           .30    975.00     292.50
                                  including Jones Day retention, QSF motion, and future
                                  claims representative.
           KB     B110            Review letter regarding appointment of future claims          .10    975.00      97.50
                                  representative.
           JEK    B110            Review docket and retrieval of recently field documents.     1.10    325.00     357.50
12/10/21   MBB    B110            Review Debtor's schedules.                                   1.30    550.00     715.00
12/13/21   KEC    B110            Strategy call with Motion to Dismiss counsel regarding        .40    750.00     300.00
                                  upcoming Omnibus Hearing.
           TBB    B110            Zoom interviews with prospective financial advisors-2.5      2.50    975.00   2,437.50
                                  hr.
           JEK    B110            Prepare and submit In-Person Pre-Appearance Sheet for         .20    325.00      65.00
                                  T. Bennett and B. Glasser.
           JEK    B110            Review docket and retrieval of recently field documents       .80    325.00     260.00
                                  and correspondence.
12/14/21   MBB    B110            Review hearing agenda for 12/15.                              .10    550.00      55.00
           JEK    B110            Review docket and retrieval of recently field documents       .60    325.00     195.00
                                  and correspondence.
           JEK    B110            E-mails to and from M. Burrus regarding calendar              .20    325.00      65.00
                                  deadlines and hearing dates.
           JEK    B110            Review docket and retrieval of recently field documents       .50    325.00     162.50
                                  and correspondence.
           JEK    B110            Retrieval of Amended Initial Statement of Official            .30    325.00      97.50
                                  Committee of Talc Claimants and e-mail to B. Glasser.
12/15/21   TLC    B110            Observed LTL Hearing.                                        2.00    550.00   1,100.00
           KB     B110            Attend Court hearing by Zoom.                                2.00    975.00   1,950.00
           TBB    B110            Preparing for and attending omnibus hearings.                3.00    975.00   2,925.00
           JEK    B110            Update case calendar regarding objection deadlines.           .40    325.00     130.00


                                        Sub-Total of Task              $ 60,522.50




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B140 Relief from Stay/

    Date   Init   Task     Actv   Description of Service                                      Hours      Rate    Amount
11/11/21   TBB    B140            Reviewing/analyzing drafts of preliminary injunction for      .30    975.00     292.50
                                  adversary proceeding extending automatic
                                  stay/determining application of automatic stay.
11/12/21   BAG    B140            Calls and emails with team on strategy around                 .50    975.00     487.50
                                  preliminary injunction.
           DLS    B140            Telephone Conferences and Emails with BG Team on              .20    750.00     150.00
                                  Preliminary Injunction Strategy.
           TBB    B140            Review of debtors' draft of proposed preliminary              .90    975.00     877.50
                                  injunction order along with call with co-counsel
                                  regarding revisions to debtors' proposed preliminary
                                  injunction order.
           TBB    B140            Review of further debtors' counsel's revisions to            2.20    975.00   2,145.00
                                  preliminary injunction along with call with the
                                  committee's counsel to further revise and respond to
                                  revisions to preliminary injunction order.
           DTM    B140            T/C with BG Team on PI strategy                               .40    750.00     300.00
11/13/21   TBB    B140            Review, analysis, and drafting proposed modifications to     1.90    975.00   1,852.50
                                  debtor's proposed extension/application of stay
                                  preliminary injunction order and emails regarding issues
                                  in proposed responsive draft.
11/14/21   TBB    B140            Review and analysis of 11/14/21 Jones Day revisions to       1.10    975.00   1,072.50
                                  draft proposed order on preliminary injunction along
                                  with email to co-counsel on same and additional
                                  proposed revisions to revised debtor's revised draft of
                                  proposed order.
11/16/21   BAG    B140            Analysis of court's order imposing injunction on talc         .20    975.00     195.00
                                  claims against non-debtor entities.
11/21/21   TBB    B140            Analysis of recommendations on discovery for                  .30    975.00     292.50
                                  preliminary injunction extension request by LTL
                                  Management.
12/09/21   MBB    B140            PI AP: Review Debtor's supplemental brief re: extension       .90    550.00     495.00
                                  of preliminary injunction.
12/12/21   DLS    B140            Calls and Emails with BG Team on Strategy for                 .50    750.00     375.00
                                  Preliminary Injunction.


                                        Sub-Total of Task               $ 8,535.00




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B150 Meetings of and

    Date   Init   Task     Actv   Description of Service                                      Hours      Rate    Amount
11/12/21   BAG    B150            Review and respond to email traffic on agenda for TCC         .10    975.00      97.50
                                  meeting.
           BAG    B150            Attend TCC Meeting.                                          2.10    975.00   2,047.50
           DLS    B150            Prepare for and Attend Talc Creditors Committee              2.10    750.00   1,575.00
                                  Strategy Meeting.
           DLS    B150            Emails from David Molton Re Preparation for Upcoming          .10    750.00      75.00
                                  TCC Meetings.
           TBB    B150            Preparation for and participating in call with talc          1.80    975.00   1,755.00
                                  creditors' committee along with other counsel for
                                  creditors' committee regarding various strategic and
                                  administrative matters.
11/13/21   DLS    B150            Review docket information and internal info to prepare       1.30    750.00     975.00
                                  for Conference Call.
11/14/21   DLS    B150            Conference with Brian Glasser in NYC to Prepare for Talc      .50    750.00     375.00
                                  Creditors Committee and Co-Counsel meeting.
11/15/21   BAG    B150            Lengthy meeting with co-counsel and committee                7.50    975.00   7,312.50
                                  members to outline responsive briefing and identify
                                  workstreams.
           KEC    B150            Participate in meeting with Creditors Committee              7.50    750.00   5,625.00
           DLS    B150            Meeting with Talc Creditors Committee and Co-Counsel:        7.50    750.00   5,625.00
                                  Outline Responsive Briefing, Workstreams with Firms.
           KB     B150            Meeting of creditors committee and counsel re initial        7.50    975.00   7,312.50
                                  case strategy on contested matters.
           CLJ    B150            Conference with legal team and clients, re: background       7.50    750.00   5,625.00
                                  of case and strategy for next steps including discovery,
                                  motions and other briefing.
           MBB    B150            Meet with co-counsel and committee members to                7.50    550.00   4,125.00
                                  discuss case strategy and process.
           DTM    B150            Attend meeting of CC and Co-counsel to discuss strategy      7.00    750.00   5,250.00
                                  and plan for responsive briefing
11/16/21   BAG    B150            Lengthy meeting with co-counsel and committee to             5.90    975.00   5,752.50
                                  distribute worksteams, rolls, and knowledge on science
                                  issues.
           KEC    B150            Participate in meeting with Creditors Committee.             5.90    750.00   4,425.00
           DLS    B150            Continued Meetings with Talc Creditors Committee and         4.00    750.00   3,000.00
                                  Co-Counsel: Outline Responsive Briefing, Workstreams
                                  with Firms.




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    Date   Init   Task     Actv   Description of Service                                       Hours      Rate   Amount
           CLJ    B150            Conference with client, re: background, strategy and          5.90    750.00   4,425.00
                                  next steps; conference with co-counsel, re: division of
                                  labor and next steps; Conference with co-counsel and
                                  clients, re: medical and research history.
           TBB    B150            Meeting with committee along with co-counsel                  3.50    975.00   3,412.50
                                  regarding strategy, further allocation of work between
                                  counsel, document retention and control, scientific
                                  issues regarding talcum powder exposure, preliminary
                                  injunction extension/defense, motion to dismiss,
                                  motions to intervene, and approach and court for further
                                  consideration of preliminary injunction.
           MBB    B150            Review scientific information presentations to facilitate     1.90    550.00   1,045.00
                                  preparation of introductory brief.
           MBB    B150            Meeting with committee members and co-counsel to              4.00    550.00   2,200.00
                                  develop case strategy and litigation plan.
           DTM    B150            Meeting with CC and Co-Counsel for continued planning         5.90    750.00   4,425.00
                                  and for science day presentation
11/18/21   BAG    B150            Attend committee meeting principally focused on               2.50    975.00   2,437.50
                                  strategy for Monday hearing and early part of case.
           KEC    B150            Participate in meeting with the Creditor Committee            2.50    750.00   1,875.00
                                  representatives and counsel regarding upcoming
                                  deadlines and hearings.
           KB     B150            Committee meeting (Zoom).                                     2.50    975.00   2,437.50
           TBB    B150            Zoom meeting with committee members on matters                2.50    975.00   2,437.50
                                  being handled along with developing strategy for
                                  matters.
           TBB    B150            Zoom meeting of counsel for committee regarding                .60    975.00    585.00
                                  allocation of work on matters and sequence of timing of
                                  responses to motions to be filed.
11/23/21   BAG    B150            Call with the committee about five topics raised by the       1.70    975.00   1,657.50
                                  Trustee or the recent court hearing.
           KB     B150            Attend creditors' committee meeting.                          1.70    975.00   1,657.50
           TBB    B150            Meeting with talc creditors' committee on progress with       1.70    975.00   1,657.50
                                  case matters.
12/01/21   BAG    B150            Meeting with the committee where I cover discovery            2.00    975.00   1,950.00
                                  plans and aspects of the proof on the motion to dismiss.
           KEC    B150            Attend Talc Creditor Committee Meeting.                       1.70    750.00   1,275.00
           TBB    B150            Participating in zoom meeting with client on preliminary      1.70    975.00   1,657.50
                                  injunction, motion to dismiss and other topics.
           TBB    B150            Zoom meeting of counsel regarding issues on upcoming           .50    975.00    487.50
                                  call with committee members and strategy of case.



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    Date   Init   Task     Actv   Description of Service                                       Hours      Rate    Amount
12/15/21   TBB    B150            Meetings with co-counsel, committee members, and               .30    975.00     292.50
                                  committee members' individual counsel regarding
                                  various issues for 12/15/21 hearing.


                                        Sub-Total of Task               $ 96,867.50

B160 Fee/Employment Applic

    Date   Init   Task     Actv   Description of Service                                       Hours      Rate    Amount
11/11/21   BAG    B160            Review application for employment.                             .80    975.00     780.00
11/12/21   BAG    B160            Edits to retention application.                               1.30    975.00   1,267.50
           KB     B160            Review and revise fee application and related pleadings,      6.70    975.00   6,532.50
                                  including long conference with M Burrus re same.
12/07/21   TBB    B160            Review of final version of response to UST's email letter      .40    975.00     390.00
                                  requesting additional information and agreements for
                                  retention and executing same along with approval of
                                  revised order re: retention.
12/10/21   TBB    B160            Review of email from UST regarding supplemental               1.10    975.00   1,072.50
                                  declaration and revising proposed order for retention,
                                  emails regarding proposed order with UST, and filing of
                                  supplemental declaration and revised order.


                                        Sub-Total of Task               $ 10,042.50

B170 Fee/Employment Objections

    Date   Init   Task     Actv   Description of Service                                       Hours      Rate    Amount
12/06/21   KB     B170            Review draft objection to debtor's employment                  .20    975.00     195.00
                                  applications and conference with M Burrus re same.
           TBB    B170            Analysis of objection to debtor's retention applications       .40    975.00     390.00
                                  and commenting on issues raised.
12/08/21   DLS    B170            Review Objections to Jones Day filed by Trustee and            .40    750.00     300.00
                                  Aylstock. Internal Communications Re Same.
12/09/21   MBB    B170            Review U.S. Trustee objection to Debtor's application for      .10    550.00      55.00
                                  retention of Jones Day.
           MBB    B170            Review Alystock objection to Debtor's application to           .10    550.00      55.00
                                  employ Jones Day.


                                        Sub-Total of Task                 $ 995.00



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B190 Other Contested Matters

    Date   Init   Task     Actv   Description of Service                                         Hours      Rate   Amount
11/11/21   TBB    B190            Researching divisive merger statutes histories and              1.20    975.00   1,170.00
                                  intent.
11/12/21   BAG    B190            Call with executive committee of TCC on strategy.                .70    975.00    682.50
           BAG    B190            Call with Robert Stark on strategy.                              .20    975.00    195.00
           BAG    B190            Review and respond to email traffic on strategy.                 .10    975.00     97.50
           BAG    B190            Call with co-counsel at Brown on next moves Re:                  .50    975.00    487.50
                                  Motion to Dismiss and P/I
           BAG    B190            Calls with Kevin Barrett and then Tom Bennett on next            .20    975.00    195.00
                                  strategy.
           BAG    B190            Calls with Johnson and then Selby on staffing Motion to          .20    975.00    195.00
                                  Dismiss and P/I.
           MDD    B190            Review/retrieve documents from cases 21-30589 and               3.10    325.00   1,007.50
                                  21-03032.
           MDD    B190            Prepare initial Witness List.                                    .60    325.00    195.00
           TB     B190            Call with T. Bennett to discuss background of case and           .30    800.00    240.00
                                  receive project to research legislative history of divisive
                                  merger and cases relating to same with notes to file.
           TB     B190            Review email traffic to proceed with research project            .10    800.00     80.00
                                  after getting clearance from client earlier in afternoon.
           TB     B190            Online legal research and review of authorities on Texas        3.50    800.00   2,800.00
                                  divisive merger statute, legislative history, and relevant
                                  cases involving same.
           DLS    B190            Call with Brian Glasser on Appropriate Staffing for BG           .20    750.00    150.00
                                  Litigation Team and Division of Labor.
           DLS    B190            Emails from and to Committee Member's counsel on                 .10    750.00     75.00
                                  Motion to Dismiss.
           DLS    B190            Review Memorandums Re Motion for Injunction in                   .30    750.00    225.00
                                  Imerys Bankruptcy to obtain historical account of J&J's
                                  efforts to avoid liability.
           KB     B190            Confer with M Burrus re status and assignments coming            .10    975.00     97.50
                                  out of counsel call.
           KB     B190            Confer with B Glasser re strategy meeting and staffing.          .10    975.00     97.50
           MBB    B190            Call with BG team re: case strategy.                             .30    550.00    165.00
           DTM    B190            Preparation for CC meeting in NY on Nov 15 and 16               1.90    750.00   1,425.00
11/13/21   BAG    B190            Telephone call with team to outline the content of the          1.30    975.00   1,267.50
                                  counter informational brief and the focus of immediate
                                  discovery for the motion to dismiss.



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    Date   Init   Task     Actv   Description of Service                                        Hours      Rate   Amount
           BAG    B190            Drafting case strategy memorandum no. 1 to the TCC             1.80    975.00   1,755.00
                                  and circulate same for comment.
           BAG    B190            Reading materials on the divestiture transaction.               .50    975.00    487.50
           BAG    B190            Reading materials supplied by committee members to              .90    975.00    877.50
                                  orient to science issues.
           TB     B190            Online legal research and review of authorities on             4.20    800.00   3,360.00
                                  divisive merger statute.
           KEC    B190            Strategy call with Bailey Glasser litigation and               1.30    750.00    975.00
                                  bankruptcy team.
           DLS    B190            Review and Calls with Teams Re TCC Memorandum No.               .30    750.00    225.00
                                  1.
           DLS    B190            Emails Re JJCI Liability and Imerys BK.                         .10    750.00     75.00
           DLS    B190            Conference Call with BG Team Re litigation strategy and        1.30    750.00    975.00
                                  upcoming TCC Meeting.
           KB     B190            Legal research re bad faith dismissal standards in 3d           .80    975.00    780.00
                                  Circuit, finality of order denying dismissal.
           KB     B190            Conference call with BG team re litigation strategy and        1.30    975.00   1,267.50
                                  upcoming committee meeting.
           CLJ    B190            Conference with legal team, re: strategy for litigation &      1.30    750.00    975.00
                                  next client meeting.
           TBB    B190            Conference call regarding allocation of work tasks,            1.30    975.00   1,267.50
                                  discovery going forward and strategy.
           TBB    B190            Review of dockets and documents to determine                   1.10    975.00   1,072.50
                                  allocation of work scope, for strategy memorandum,
                                  and editing of memorandum on same.
           MBB    B190            Internal call with BG team re: case strategy.                  1.30    550.00    715.00
           DTM    B190            Meeting with BG team re: discovery for Motion to               1.30    750.00    975.00
                                  Dismiss
11/14/21   MDD    B190            Receive/review documents related to potential                   .60    325.00    195.00
                                  witnesses.
           TB     B190            Legal research and review of authorities on Texas              7.40    800.00   5,920.00
                                  divisive merger statute, legislative history, and relevant
                                  cases involving same.
           DLS    B190            Further Review and Calls with Teams Re TCC                      .20    750.00    150.00
                                  Memorandum No. 1.
           KB     B190            Confer with Glasser re strategy memo.                           .20    975.00    195.00
           TBB    B190            Revising draft memo regarding strategy for committee            .90    975.00    877.50
                                  members including consideration of alternative
                                  approaches.
           DTM    B190            Meeting with Brian Glasser and David Selby to prepare           .50    750.00    375.00
                                  for CC meetings on various contested matters.


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    Date   Init   Task     Actv   Description of Service                                        Hours      Rate    Amount
11/15/21   TB     B190            Telephone call with T. Bennett regarding project to             .10    800.00      80.00
                                  prepare sections for motion to dismiss.
           TB     B190            Online legal research and review of authorities on Texas       4.00    800.00   3,200.00
                                  divisive merger statute, legislative history, and relevant
                                  cases involving same.
           KEC    B190            Communication with ESI vendor regarding negotiation             .50    750.00     375.00
                                  of contracts for discovery materials.
           KB     B190            Calls with BG team et al. re strategy.                          .30    975.00     292.50
           JEK    B190            Update e-mail correspondence file in Filevine.                  .40    325.00     130.00
11/16/21   BAG    B190            Review and analyze the Court's order transferring venue         .20    975.00     195.00
                                  to New Jersey.
           BAG    B190            Begin listing matters for discovery in connection with         3.30    975.00   3,217.50
                                  the motion to dismiss and reading documents already
                                  produced that help with that task.
           TB     B190            Online legal research and review of authorities on Texas       8.50    800.00   6,800.00
                                  divisive merger statute, legislative history, and relevant
                                  cases involving same.
           TB     B190            Email traffic with T. Bennett, B. Glasser, and R. Cox           .20    800.00     160.00
                                  regarding procedural status of NC bankruptcy cases
                                  (e.g., DBMP and Aldrich).
           TB     B190            Call with Tom Bennett Re: potential attacks on divisive         .30    800.00     240.00
                                  merger.
           KB     B190            Confer with K Charonko re documents system and Epiq             .20    975.00     195.00
                                  availability.
           CLJ    B190            Review documents from preliminary injunction process            .50    750.00     375.00
                                  in preparation for client meeting on Motion to Dismiss.
           CLJ    B190            Review documents from bankruptcy, prior discovery              2.00    750.00   1,500.00
                                  requests, deposition summaries from preliminary
                                  injunction process for Motion to Dismiss.
           TBB    B190            Drafting and reviewing discovery areas and issues in           2.60    975.00   2,535.00
                                  connection with motion to dismiss.
           TBB    B190            Analysis of documents evidencing divisive merger.              1.20    975.00   1,170.00
           MBB    B190            Research re appellate review standards.                         .20    550.00     110.00
           JEK    B190            E-mails to and from M. Burrus regarding transfer of case        .10    325.00      32.50
                                  to New Jersey.
           JEK    B190            Retrieval of case documents and correspondence.                1.60    325.00     520.00
           JEK    B190            Research corporate filings and e-mail to B. Glasser            1.10    325.00     357.50
11/17/21   BAG    B190            Continued review of documents to determine                     3.40    975.00   3,315.00
                                  custodians for discovery and relevant areas of inquiry
                                  for motion to dismiss.



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    Date   Init   Task     Actv   Description of Service                                        Hours      Rate    Amount
           MDD    B190            Review of 10.11.21 memo to review/update list of               2.10    325.00     682.50
                                  potential witnesses with what they know.
           TB     B190            Review of authorities and drafting of insert on divisional     8.10    800.00   6,480.00
                                  merger statute, based on the language of the statute,
                                  legislative history, and other sources of legislative
                                  intent.
           DLS    B190            Receipt and Review of Email and Attachments from Joe            .30    750.00     225.00
                                  Satterley Re Sanctions issues.
           KB     B190            Review NJ decision regarding fraud claims and email             .30    975.00     292.50
                                  correspondence with M Burrus re same.
           KB     B190            Email correspondence with B Glasser re roles and                .10    975.00      97.50
                                  responsibilities in context of status conference.
           KB     B190            Confer with M Burrus re document requests and                   .30    975.00     292.50
                                  productions and response to same.
           KB     B190            Confer with Burrus and conference and email                     .40    975.00     390.00
                                  correspondence with K Charonko re DISCO contract and
                                  communications with committee re same.
           BJM    B190            Conferred with Katherine Charonko Via Telephone Re:             .20    550.00     110.00
                                  Procedural History and Discovery Plan.
           TBB    B190            Review of further research on Texas Business                    .60    975.00     585.00
                                  Organization Code divisive merger provisions in
                                  connection with motion to dismiss.
           TBB    B190            Review and analysis of secondary source authority              1.20    975.00   1,170.00
                                  regarding Texas Business Organizations Code relating to
                                  divisive mergers.
           JEK    B190            Retrieval of case document and correspondence.                 1.20    325.00     390.00
11/18/21   BAG    B190            Continued work outlining custodians for discovery and          1.20    975.00   1,170.00
                                  potential witnesses on motion to dismiss.
           BAG    B190            Drafting a master list of focused discovery for the            4.30    975.00   4,192.50
                                  motion to dismiss, including identifying relevant
                                  custodians, documents to request and witnesses we
                                  need from our side who are not adverse and witnesses
                                  we may depose from J&J companies.
           BAG    B190            Email traffic with co-counsel and committee on issues           .20    975.00     195.00
                                  arising out of the meet and confer process.
           TB     B190            Review of authorities and drafting of insert on potential      7.20    800.00   5,760.00
                                  Texas divisional merger statute, finalized draft and
                                  circulated same for review and comment.
           KEC    B190            Working with ESI project for formalization of platform          .90    750.00     675.00
                                  and analysis of previous document productions in
                                  adversary proceeding.



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           KEC    B190            Analysis of and working with LTL Management                    .80    750.00     600.00
                                  discovery productions from Preliminary Injunction.
           BJM    B190            Conferred with Katherine Charonko Via Telephone Re:            .20    550.00     110.00
                                  Discovery and Document Management.
           TBB    B190            Further review and analysis of legislative history for         .50    975.00     487.50
                                  Texas relating to divisive mergers.
           TBB    B190            Review of revised draft of discovery requests for use in       .50    975.00     487.50
                                  motions dealing with dismissal.
           JEK    B190            Retrieval of case documents and correspondence.               1.80    325.00     585.00
           DTM    B190            T/C with Brian Glasser and David Selby re: mediation of        .40    750.00     300.00
                                  contested matters and communications with CC re:
                                  same.
11/19/21   BAG    B190            Continued work identifying potential custodians for           1.60    975.00   1,560.00
                                  discovery and outlining potential pieces of proof.
           TB     B190            Additional research and drafting on argument                  6.80    800.00   5,440.00
                                  concerning the divisional merger statute, including work
                                  on drafting an appropriate facts section for inclusion in
                                  this overall argument about the Texas divisional merger
                                  statute; circulated revised draft for review and
                                  comment.
           KEC    B190            Analysis and work with discovery materials for use             .90    750.00     675.00
                                  during early motion practice and discovery phase.
           KEC    B190            Strategy communication regarding supplemental                  .70    750.00     525.00
                                  discovery phase for Motion to Dismiss.
           KEC    B190            Analysis of and working with LTL Management                    .70    750.00     525.00
                                  discovery productions from Preliminary Injunction for
                                  Motion to Dismiss.
           KEC    B190            Setting of credentials for Creditor Committee attorneys        .40    750.00     300.00
                                  related to discovery productions.
           TLC    B190            Discovery strategy conference call.                            .70    550.00     385.00
           KB     B190            Email correspondence and call with T Bennett re status         .20    975.00     195.00
                                  with committee on scope of work on Motion to Dismiss.
           BJM    B190            Conferred with Katherine Charonko and Tony Clackler            .70    550.00     385.00
                                  Via Zoom to Develop Strategy in Preparation for
                                  Discovery.
           BJM    B190            Reviewed Documents Filed in Conjunction with North            1.10    550.00     605.00
                                  Carolina Bankruptcy Proceedings in Preparation for
                                  Discovery.
           BJM    B190            Reviewed information from Katherine Charonko and               .10    550.00      55.00
                                  Rachel Morse Re: Establishment of DISCO Review
                                  Library and Ingest of Documents from Preliminary
                                  Injunction Hearing in Preparation for Discovery.


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    Date   Init   Task     Actv   Description of Service                                        Hours      Rate    Amount
           TBB    B190            Revising of draft of discovery requests for motion to           .80    975.00     780.00
                                  dismiss.
           TBB    B190            Research on issues relating to Motion to Dismiss with          1.30    975.00   1,267.50
                                  respect to assets and liabilities.
           TBB    B190            Call with T. Basdekis on additions and with M. Burrus on        .10    975.00      97.50
                                  supplemental research on Motion to Dismiss.
           TBB    B190            Revising Texas divisive merger portion of motion to            1.10    975.00   1,072.50
                                  dismiss.
           TBB    B190            Research on North Carolina's statutes governing                1.10    975.00   1,072.50
                                  mergers.
           MBB    B190            Confer with T. Bennett re: legal research to facilitate         .10    550.00      55.00
                                  preparation of motion to dismiss.
           JEK    B190            Retrieval of case document and correspondence.                  .50    325.00     162.50
11/20/21   BAG    B190            Continued work reviewing documents used to date to             2.10    975.00   2,047.50
                                  identify custodians, think about potential witnesses we
                                  may need and draft discovery, all for the motion to
                                  dismiss.
           BAG    B190            Reading first day hearing transcript from NC to see how        2.50    975.00   2,437.50
                                  LTL will characterize matters relating to contested
                                  matters.
           TB     B190            Continued drafting and review of authorities on insert         7.00    800.00   5,600.00
                                  regarding the Texas divisional merger statute; revisions
                                  to and reworking of facts section; circulated new,
                                  revised draft late on Saturday night for review and
                                  comment.
           KEC    B190            Strategy communication regarding drafting of Motion to          .70    750.00     525.00
                                  Withdrawal Reference.
           KB     B190            Email correspondence with Glasser re 524(g) issues,             .10    975.00      97.50
                                  including review of same.
           TBB    B190            Revising and restructuring Texas divisive merger portion       1.70    975.00   1,657.50
                                  of motion to dismiss..
11/21/21   BAG    B190            Additions to discovery list for motion to dismiss and           .50    975.00     487.50
                                  email traffic with Cary Joshi on same.
           BAG    B190            Read and reread the Funding Agreement and thinking              .60    975.00     585.00
                                  through associated arguments in respect of the motion
                                  to dismiss and beyond.
           BAG    B190            Read transcripts of prior first day hearing and injunction     1.70    975.00   1,657.50
                                  hearing to continue to see how the debtor characterizes
                                  natters Re: Motion to Dismiss and Preliminary
                                  Injunction.




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           TB     B190            Legal research and review of authorities on whether          2.40    800.00   1,920.00
                                  mergers are effective under Texas, NC, or other general
                                  common law.
           KEC    B190            Continued work on discovery document analysis of LTL         1.10    750.00    825.00
                                  materials regarding scoping of RFP responses.
           KEC    B190            Continued communication of revisions and drafts of            .40    750.00    300.00
                                  Motion to Withdrawal Reference.
           DLS    B190            Review and Edit Outline for 11/22 Hearing on Motion to        .50    750.00    375.00
                                  Dismiss issues.
           TLC    B190            Analyzed bates error on document spreadsheet tracker.        4.20    550.00   2,310.00
                                  Searched for and analyzed certain merger/financial
                                  documents. Downloaded documents and provided
                                  them to Kate.
           TBB    B190            Revising restructured divisive merger portion of motion      1.10    975.00   1,072.50
                                  to dismiss.
           MBB    B190            Research to facilitate preparation of motion to dismiss.     4.00    550.00   2,200.00
           MBB    B190            Review and summarize terms of funding agreement for          1.30    550.00     715.00
                                  B. Glasser.
11/22/21   BAG    B190            Close read of SGL case to think though issues that may        .50    975.00    487.50
                                  be raised in today's hearing.
           BAG    B190            Finish edits to initial list of possible deponents and        .40    975.00    390.00
                                  custodians of records as well as thoughts on witnesses
                                  for the motion to dismiss hearing, and circulate to co-
                                  counsel and the committee.
           TB     B190            Drafted updated insert for potential inclusion into          2.00    800.00   1,600.00
                                  motion to dismiss briefing and circulated same for
                                  review and comment.
           KEC    B190            Call with C. Joshi regarding discovery for drafting           .30    750.00    225.00
                                  Motion to Dismiss.
           KEC    B190            Call with B. McAllister regarding drafting of Motion to       .10    750.00     75.00
                                  Dismiss discovery.
           KEC    B190            Working on updates regarding previous document RFPs           .70    750.00    525.00
                                  from Preliminary Injunction and circulation of
                                  information to working attorneys.
           KEC    B190            Working on continued discovery projects related to            .70    750.00    525.00
                                  exhibits used during preliminary injunction hearings.
           KEC    B190            Communication with Brown Rudnick regarding                    .10    750.00     75.00
                                  discovery conference call.
           DLS    B190            Call with Brian Glasser and Todd Mathews following            .50    750.00    375.00
                                  Hearing: Strategy and Plan going forward.
           DLS    B190            Review draft of custodian of records and witness list to      .30    750.00    225.00
                                  propose with Debtor. In Firm Communications Re Same.


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           DLS    B190            Email and Phone Communications Re CEO Gorsky                    .20    750.00     150.00
                                  Deposition.
           DLS    B190            Communications with Leigh O'Dell, her staff, and BG             .20    750.00     150.00
                                  team Re Preparation for MTD.
           TLC    B190            Read, analyzed, drafted attorney work product on Ch.           4.90    550.00   2,695.00
                                  11 bankruptcy hearing transcript 10.20.21.
           TLC    B190            Read, analyzed, and created attorney work product for          1.50    550.00     825.00
                                  transcript of Ch. 11 hearing on 10.22.21.
           KB     B190            Review draft brief on motion to withdraw the                    .20    975.00     195.00
                                  reference.
           KB     B190            Confer with M Burrus re research on merger claims.              .20    975.00     195.00
           CLJ    B190            Prepare discovery plan for motion to dismiss.                  1.20    750.00     900.00
           TBB    B190            Review of additional discovery areas for motion to             1.20    975.00   1,170.00
                                  dismiss along with review of already produced
                                  documents relating to motion to dismiss issues.
           MBB    B190            Review correspondence from T. Basdekis re: divisional           .10    550.00      55.00
                                  merger research.
           JEK    B190            Retrieval of case documents and correspondence.                 .60    325.00     195.00
           RRB    B190            Calls and email exchanges re assignment on reviewing           1.80    850.00   1,530.00
                                  bankruptcy cases dismissed for bad faith filings; review
                                  of cases dismissing bankruptcy cases for bad faith filings
           JGT    B190            Exchange e-mails and review SGL case and telephone              .80    850.00     680.00
                                  conference with Bell to develop strategy for proceeding
                                  forward on request by Mr. Glasser relating to surveying
                                  case law relating to dismissal of bankruptcies for bad
                                  faith.
           JGT    B190            Continued analysis of approach to take in connection           1.50    850.00   1,275.00
                                  with the bad faith project and telephone conference
                                  regarding same.
           JGT    B190            Begin reviewing case law regarding dismissal of Chapter        1.50    850.00   1,275.00
                                  11 bankruptcies and completing spread sheet Re: same.
           JSC    B190            Telephone call with Robert Bell and John Turner re              .40    550.00     220.00
                                  chart of cases needed re bad faith dismissal and
                                  strategy for accomplishing same.
           JSC    B190            Create template chart for bad faith dismissal research          .60    550.00     330.00
                                  project and circulate draft of same to group for use.
           JSC    B190            Review citing headnotes print out from westlaw and              .70    550.00     385.00
                                  narrow list of cases for chart to those granting dismissal
                                  not already included on citing references list from
                                  seminal case.
           JSC    B190            Circulate list of additional cases from headnotes               .20    550.00     110.00
                                  references print out to group for review.


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           DTM    B190            T/C with Brian Glasser and David Selby to discuss            .50    750.00     375.00
                                  Strategy and action items for contested matters.
11/23/21   BAG    B190            Call re: walking the committee through a proposed           1.00    975.00     975.00
                                  briefing and discovery schedule, a list of possible
                                  deponents and a list of possible witnesses, with
                                  commentary.
           BAG    B190            Call assigning drafting of an agreement having to do         .10    975.00      97.50
                                  with the litigation to Turner.
           BAG    B190            Email assigning review of a specific class of documents      .10    975.00      97.50
                                  to Massey lawyer.
           BAG    B190            Finish up and circulate to core committee counsel for       1.40    975.00   1,365.00
                                  review and comment my proposed set of requests for
                                  the production of documents in respect of the
                                  upcoming hearing on the motion to dismiss.
           BAG    B190            Edit Texas Two Step insert for motion to dismiss and         .30    975.00     292.50
                                  circulate same to Brown Rudnick for inclusion in first
                                  draft to committee.
           KEC    B190            Continued work in discovery library to grant access to       .90    750.00     675.00
                                  committee representatives and continued work on
                                  analysis of LTL productions.
           KEC    B190            Communications with committee members regarding              .50    750.00     375.00
                                  filings, discovery and updates.
           KEC    B190            Call with Brown Rudnick and Otterbourg regarding ESI         .30    750.00     225.00
                                  and discovery preparation for Motion to Dismiss
                                  discovery.
           KEC    B190            Continued analysis and work with preliminary injunction     1.70    750.00   1,275.00
                                  materials for preparation in discovery phase of motion
                                  to dismiss.
           KEC    B190            Strategy communication with committee                        .70    750.00     525.00
                                  representatives regarding litigation discovery for
                                  motion to dismiss.
           KEC    B190            Call with T. Clackler and B. McAllister regarding            .20    750.00     150.00
                                  discovery.
           KEC    B190            Call with Creditor Committee regarding motion to            1.00    750.00     750.00
                                  dismiss discovery.
           DLS    B190            Email Re old JJCI from Chris Tisi.                           .10    750.00      75.00
           DLS    B190            Review Information from Bestwall bankruptcy relevant         .20    750.00     150.00
                                  to LTL issues.
           DLS    B190            Further Communications with Leigh O'Dell, her staff,         .50    750.00     375.00
                                  and BG team Re Preparation for MTD.
           TLC    B190            Read, analyzed, and created attorney work product for       1.20    550.00     660.00
                                  Chapter 11 Hearing Transcript 10.22.21.


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    Date   Init   Task     Actv   Description of Service                                       Hours      Rate    Amount
           TLC    B190            Read, analyzed, and created attorney work product for          .60    550.00     330.00
                                  Chapter 11 Hearing Transcript 10.25.21.
           TLC    B190            Read, analyzed, and created attorney work product for         5.20    550.00   2,860.00
                                  Chapter 11 Hearing Transcript 11.4.21.
           TLC    B190            Conference call concerning Discovery Review Platform.          .30    550.00     165.00
           TLC    B190            Created document spreadsheet tracker for certain types         .20    550.00     110.00
                                  of documents. Entered information about a document
                                  into spreadsheet.
           TLC    B190            Read, analyzed, and created attorney work product for          .70    550.00     385.00
                                  Chapter 11 Hearing Transcript 11.5.21.
           KB     B190            Review article re Texas Two Step.                              .10    975.00      97.50
           KB     B190            Review revised brief on withdrawal of the reference.           .20    975.00     195.00
           KB     B190            Confer with M Burrus re discovery-related issues.              .30    975.00     292.50
           KB     B190            Discovery call with co-counsel.                               1.00    975.00     975.00
           CLJ    B190            Review all previous discovery requests and cross              1.80    750.00   1,350.00
                                  reference with MTD discovery plan.
           BJM    B190            Reviewed Documents Exchanged Between Katherine                 .30    550.00     165.00
                                  Charonko and Brian Glasser Re: Document Review.
           TBB    B190            Meeting of counsel to analyze discovery issues relative       1.10    975.00   1,072.50
                                  to motion to dismiss including depositions and
                                  document productions.
           TBB    B190            Review and revising of draft of motion to dismiss              .40    975.00     390.00
                                  portion on Texas' divisive merger statute along with
                                  supplemental research on effectiveness of actions taken
                                  in violation of legislative intent.
           MBB    B190            Confer with C. Joshi re: debtor's schedules and other          .30    550.00     165.00
                                  discovery.
           JEK    B190            Retrieval of case documents and correspondence.                .70    325.00     227.50
           JEK    B190            Retrieval of Common Interest Agreements and e-mail to          .40    325.00     130.00
                                  J. Turner.
           RRB    B190            Review and analyze cases dismissing bankruptcy filings        1.80    850.00   1,530.00
                                  for bad faith to aid in discovery in litigation involving
                                  bankruptcy filing
           JGT    B190            Continue reviewing case law regarding instances where         3.50    850.00   2,975.00
                                  courts have dismissed Chapter 11 cases for bad faith
                                  and draft entries into the bad faith factors chart.
           JGT    B190            Telephone call with Bell regarding approach to take in         .30    850.00     255.00
                                  connection with the bad faith case law review.
           JSC    B190            Read and review cases dismissing chapter 11 petitions         8.20    550.00   4,510.00
                                  on bad faith grounds and draft brief of analysis of such
                                  cases for case chart document of bad faith factors being
                                  compiled to anticipate discovery needs

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Talc Creditors Committee                                                                                December 18, 2021
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    Date   Init   Task     Actv   Description of Service                                        Hours      Rate    Amount
11/24/21   BAG    B190            Review and then circulate our proposed chart of the             .30    975.00     292.50
                                  divisive merger transactions for comment and
                                  improvement as well as email traffic on same.
           BAG    B190            Review email traffic and documents delivered from co-          2.10    975.00   2,047.50
                                  counsel on potential witnesses or discovery related to
                                  MTD, as well as updating the witness list and first set of
                                  discovery questions and shipping it to the committee
                                  for review and comment.
           BAG    B190            Reviewing prior testimony of Kim in deposition and in          1.10    975.00   1,072.50
                                  injunction hearing to outline areas for further
                                  examination.
           KEC    B190            Analysis and collection of documents for B. Glasser             .60    750.00     450.00
                                  related to drafting of Witness List for Motion to Dismiss
                                  discovery.
           KEC    B190            Communication and analysis of revisions and drafts of           .50    750.00     375.00
                                  motion to dismiss working custodian list.
           TLC    B190            Read, analyzed, and created attorney work product for          3.60    550.00   1,980.00
                                  LTL proceedings 11.5.21.
           TLC    B190            Read, analyzed, and created attorney work product for          1.80    550.00     990.00
                                  LTL proceedings 11.10.21.
           KB     B190            Review docket and pleadings filed.                              .10    975.00      97.50
           KB     B190            Email correspondence with J Turner re common interest           .10    975.00      97.50
                                  agreement.
           KB     B190            Review Texas two-step insertion and email                       .20    975.00     195.00
                                  correspondence with M Burrus re same.
           BJM    B190            Exchanged Emails with Todd Mathews and Katherine                .10    550.00      55.00
                                  Charonko Re: Legal Research in Preparation for
                                  Document Review.
           TBB    B190            Analysis of Kim Declaration with respect to exhibits to        1.70    975.00   1,657.50
                                  motion to dismiss and revising exhibit on corporate
                                  restructurings.
           TBB    B190            Analysis of initial operating report regarding treatment        .30    975.00     292.50
                                  of items forming part of motion to dismiss.
           JEK    B190            Prepare word version of common interest agreement               .80    325.00     260.00
                                  and e-mail to J. Turner.
           RRB    B190            Review and analysis of bankruptcy cases dismissed for          2.60    850.00   2,210.00
                                  bad faith to aid in discovery
           JGT    B190            Review of background material regarding legal issues in        1.50    850.00   1,275.00
                                  the case for preparation for drafting Common Interest
                                  Agreement.
           JGT    B190            Draft and revise Common Interest Agreement and                 1.90    850.00   1,615.00
                                  exchange e-mails regarding same.


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Talc Creditors Committee                                                                                December 18, 2021
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    Date   Init   Task     Actv   Description of Service                                        Hours      Rate    Amount
           JGT    B190            Continue reviewing case law regarding bad faith based           .50    850.00     425.00
                                  dismissal of bankruptcies.
11/25/21   BAG    B190            Reading testimony from the prior hearings with an eye          1.40    975.00   1,365.00
                                  toward the motion to dismiss issues.
           BAG    B190            Review and respond to email traffic on the witness list         .30    975.00     292.50
                                  as well as discovery draft I circulated 11/24/21.
           KEC    B190            Strategy communications with counsel for the Creditor           .60    750.00     450.00
                                  Committee regarding discovery drafting.
           KEC    B190            Analysis of draft motion to dismiss discovery and               .90    750.00     675.00
                                  witness list revisions in preparation for Committee call.
           TBB    B190            Analysis of proposed discovery for motion to dismiss            .70    975.00     682.50
                                  including selection of deponents, document production,
                                  and prior discovery done in injunction adversary
                                  proceeding filed by Johnson & Johnson, and suggested
                                  modifications to each.
           TBB    B190            Analysis of case law on effectiveness of corporate              .70    975.00     682.50
                                  actions.
11/26/21   BAG    B190            Call with co-counsel to approve final set of first             1.90    975.00   1,852.50
                                  discovery and identify early deponents and custodians
                                  of records for same.
           BAG    B190            Final edits to and then circulate to the committee and          .20    975.00     195.00
                                  agreement for them to review and approve discovery.
           BAG    B190            Continued review of prior hearings with eye toward             1.30    975.00   1,267.50
                                  evidence for motion to dismiss.
           KEC    B190            Drafting and research related to Discovery Plan protocol       2.70    750.00   2,025.00
                                  and ESI production language.
           KEC    B190            Participate in call with counsel for the Creditor              1.90    750.00   1,425.00
                                  Committee regarding discovery.
           KEC    B190            Communication with counsel for the Creditor                     .80    750.00     600.00
                                  Committee regarding discovery.
           CLJ    B190            Review recent discovery plan and Conference with co-           3.40    750.00   2,550.00
                                  counsel, re: MTD discovery plan.
           TBB    B190            Further analysis of case law actions taken in violation of     1.70    975.00   1,657.50
                                  a statute and standing.
           TBB    B190            Determining who to depose, interrogatories, document           1.90    975.00   1,852.50
                                  production, schedule for discovery, service and
                                  responses, entities to be subpoenaed, esi agreement,
                                  and revisions to discovery requests.
           JGT    B190            Finish reviewing my portion of the cases dismissing            1.80    850.00   1,530.00
                                  bankruptcy proceedings for bad faith and enter the
                                  factual support for each case on spread sheet requested
                                  by Glasser.


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11/27/21   BAG    B190            Continued review of transcripts of prior hearings as well      5.50    975.00   5,362.50
                                  as associated exhibits to prepare for depositions in
                                  motion to dismiss adversary.
           KEC    B190            Finalize initial draft of Discovery Plan protocol and ESI      1.70    750.00   1,275.00
                                  production language for circulation to co-lead counsel
                                  and special counsel for Committee.
           KEC    B190            Communication with attorneys for Creditors Committee            .70    750.00    525.00
                                  regarding discovery drafting.
           KEC    B190            Revisions and analysis to definitions of discovery             1.90    750.00   1,425.00
                                  requests draft and analysis of protocol language.
           TBB    B190            Review of esi protocols for discovery for motion to             .80    975.00    780.00
                                  dismiss along with revised identified custodians listing
                                  for depositions and document production and discovery
                                  for Middlesex Assurance.
           TBB    B190            Analysis of case law on setting aside mergers.                 1.60    975.00   1,560.00
           RRB    B190            Review and analysis of bankruptcy cases that were              1.90    850.00   1,615.00
                                  dismissed for bad faith to aid is discovery strategy.
11/28/21   BAG    B190            Edit, then circulate, revised first set of request for the      .50    975.00    487.50
                                  production of documents for use in the motion to
                                  dismiss hearing.
           BAG    B190            Talking through certain legal issues with Tom Bennett.          .10    975.00      97.50
           BAG    B190            Edits to first draft of motion to dismiss and circulate        1.90    975.00   1,852.50
                                  same.
           BAG    B190            Read and comment on Bennett's comments on the first             .30    975.00    292.50
                                  draft of the motion to dismiss.
           BAG    B190            Continued work on first round of discovery to Debtors,         1.40    975.00   1,365.00
                                  including requests for production, interrogatories and
                                  requests for admission.
           BAG    B190            Reading through exhibits admitted at injunction hearing        3.20    975.00   3,120.00
                                  with an eye toward use in motion to dismiss as well as
                                  depositions associated with the motion to dismiss.
           KEC    B190            Communications and analysis of revisions to discovery          1.20    750.00    900.00
                                  and witness lists.
           KEC    B190            Analysis of Motion to Dismiss revisions.                       1.60    750.00   1,200.00
           KB     B190            Review and revise draft motion to dismiss.                     2.50    975.00   2,437.50
           CLJ    B190            Review correspondence from legal team and prepare              1.60    750.00   1,200.00
                                  custodian list.
           TBB    B190            Review and revising of interrogatories, requests for           1.60    975.00   1,560.00
                                  production, and admissions for motion to dismiss.
           TBB    B190            Analysis of caselaw on mergers and legitimate                  1.10    975.00   1,072.50
                                  corporate purposes therewith.


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    Date   Init   Task     Actv   Description of Service                                      Hours      Rate   Amount
           TBB    B190            Review and analysis of draft of motion to dismiss along      1.80    975.00   1,755.00
                                  with making suggested revisions thereto.
           RRB    B190            Review and analysis of cases dismissed for bad faith to      5.00    850.00   4,250.00
                                  determine the relevant factors the court applied to aid
                                  in discovery.
11/29/21   BAG    B190            Review K. Barrett's edits and then circulate same to          .40    975.00    390.00
                                  Motion to Dismiss team.
           BAG    B190            Review and respond to email traffic among committee           .30    975.00    292.50
                                  and firms on discovery issues.
           BAG    B190            Email traffic associated with final tweaks to list of         .90    975.00    877.50
                                  identified custodians and the first set of discovery,
                                  including edits to same.
           BAG    B190            Call with Dan Stolz on local procedure.                       .10    975.00     97.50
           BAG    B190            Meet and confer with Jones Day on discovery and               .70    975.00    682.50
                                  schedule for motion to dismiss and follow up calls and
                                  emails with Joshi, Jones and then Kate on same.
           BAG    B190            Continued review of exhibits and depositions used in PI      3.70    975.00   3,607.50
                                  hearing with a view toward possible use in motion to
                                  dismiss.
           BAG    B190            Email with Jones Day and my team on met and confer            .20    975.00    195.00
                                  issues.
           TB     B190            Call with T. Bennett to revise scope of legal research        .80    800.00    640.00
                                  project on mergers being effective or not.
           KEC    B190            Call with B. McAllister regarding motion to dismiss           .60    750.00    450.00
                                  discovery and drafting of review protocols.
           KEC    B190            Continued work on discovery projects related to              1.90    750.00   1,425.00
                                  preparation for motion to dismiss discovery phase.
           KEC    B190            Revisions and analysis of Discovery Plan draft in            2.90    750.00   2,175.00
                                  preparation for meet and confer with Jones Day.
           DLS    B190            Review and revising Motion To Dismiss.                        .50    750.00    375.00
           DLS    B190            In Firm Communications Re Additional Custodians.              .20    750.00    150.00
           DLS    B190            Review Order of Proof draft. Communications Re Same.          .20    750.00    150.00
           TLC    B190            Read, analyzed, and created attorney work product for         .50    550.00    275.00
                                  Debtor's Complaint for Declaratory and injunctive Relief
                                  for Motion to Dismiss.
           TLC    B190            Read, analyzed, and created attorney work product for         .50    550.00    275.00
                                  MDL PSC's Memorandum of Law in Opposition to
                                  Automatic Stay and TRO for Motion to Dismiss.
           TLC    B190            Read, analyzed, and created attorney work product for         .30    550.00    165.00
                                  Order Granting PI.
           TLC    B190            Read, analyzed, and created attorney work product for        2.40    550.00   1,320.00
                                  LTL's Informational Brief.

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    Date   Init   Task     Actv   Description of Service                                         Hours      Rate    Amount
           TLC    B190            Read, analyzed, and created attorney work product for            .40    550.00     220.00
                                  Declaration by John Kim.
           KB     B190            Review and revise motion to dismiss and email                   1.90    975.00   1,852.50
                                  correspondence with Glasser and Bennett re same.
           KB     B190            Confer with Glasser re motion to dismiss.                        .10    975.00      97.50
           KB     B190            Email correspondence with B Glasser re discovery                 .50    975.00     487.50
                                  responses.
           CLJ    B190            Prepare discovery for motion to dismiss.                        4.20    750.00   3,150.00
           BJM    B190            Conferred with Katherine Charonko Via Telephone and              .70    550.00     385.00
                                  Email Re: Document Review, Coding Panel, and
                                  Proposed Discovery Plan in Conjunction with Discovery.
           BJM    B190            Reviewed and Revised Proposed Discovery Plan.                   1.80    550.00     990.00
           BJM    B190            Reviewed Court Filings and Hearing Transcripts in               2.60    550.00   1,430.00
                                  Preparation for Discovery.
           TBB    B190            Review, analysis, and drafting of revisions to motion to        2.30    975.00   2,242.50
                                  dismiss along with revisions to graphic on structure of
                                  how divisive merger was constructed.
           MBB    B190            Confer with C. Joshi re: subpoenas.                              .10    550.00      55.00
           JEK    B190            Prepare list of document custodians and e-mail to C.             .40    325.00     130.00
                                  Joshi.
           RRB    B190            Review of chart re dismissal of cases for bad faith and          .90    850.00     765.00
                                  review of brief to dismiss petition for bad faith
           RRB    B190            Review of legal issues re demand letter, researched the         1.40    850.00   1,190.00
                                  same and began drafting letter; email exchanges re
                                  same
           JGT    B190            Review and analysis of background materials for Motion          3.70    850.00   3,145.00
                                  to Dismiss and Common Interest Agreement
           JSC    B190     A103   Read and review case brief summaries prepared by                 .60    550.00     330.00
                                  Robert Bell and John Turner for bad faith dismissal
                                  chart.
           JSC    B190     A103   Incorporate Robert Bell and John Turner case briefs into        1.30    550.00     715.00
                                  bad faith dismissal case chart draft and format and
                                  finalize chart for consistency.
           JSC    B190     A103   Read and review working draft of motion to dismiss               .90    550.00     495.00
                                  brief.
           JSC    B190     A103   Read, review, and draft summary case briefs of bad              2.10    550.00   1,155.00
                                  faith dismissal cases cited in motion to dismiss brief that
                                  were not already included in case chart.
           JSC    B190     A103   Send finalized working draft of bad faith dismissal case         .20    550.00     110.00
                                  chart to Robert Bell, John Turner, and Cari Joshi for
                                  review and comment.


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    Date   Init   Task     Actv   Description of Service                                      Hours      Rate    Amount
11/30/21   BAG    B190            Meet and confer with Jones Day and then associated            .70    975.00     682.50
                                  follow up on my side with Cary and others on first
                                  deponents and Identified Custodians.
           BAG    B190            Read documents in the closing binder for the 2021            2.60    975.00   2,535.00
                                  Corporate Reorganization with a view toward
                                  depositions.
           BAG    B190            Calls and email traffic with Joshi on discovery and           .30    975.00     292.50
                                  subpoenas.
           BAG    B190            Draft and circulate email on our side on meet and             .20    975.00     195.00
                                  confer.
           TB     B190            Legal research and review of authorities on mergers          4.50    800.00   3,600.00
                                  under Texas, NC, and other law.
           KEC    B190            Revisions and finalization of Discovery Plan draft,          2.40    750.00   1,800.00
                                  including incorporation of comments and notes from
                                  members of the Committee counsel.
           KEC    B190            Call with Arnold Blair of Brown Rudnick regarding             .40    750.00     300.00
                                  revisions to Discovery Plan.
           KEC    B190            Meet and Confer call with Jones Day regarding motion          .40    750.00     300.00
                                  to dismiss discovery phase.
           KEC    B190            Call with T. Clackler regarding drafting of document          .20    750.00     150.00
                                  review protocols for motion to dismiss discovery phase.
           KEC    B190            Communications regarding meet and confer with Jones           .40    750.00     300.00
                                  Day and discovery phase.
           KEC    B190            Call with C. Joshi regarding subpoena service for motion      .20    750.00     150.00
                                  to dismiss discovery.
           KEC    B190            Communication with co-counsel regarding document              .10    750.00      75.00
                                  review question on discovery materials.
           TLC    B190            Read and analyzed produced documents, categorized            8.20    550.00   4,510.00
                                  documents, added information to document tracker
                                  spreadsheet.
           TLC    B190            Conference call with Kate about categorizing produced         .10    550.00      55.00
                                  documents.
           KB     B190            Confer with J Turner re background and status of              .50    975.00     487.50
                                  various matters relating to motion to dismiss.
           KB     B190            Review revised motion to dismiss as sent to the               .30    975.00     292.50
                                  committee.
           KB     B190            Confer with M Burrus re discovery relating to motion to       .30    975.00     292.50
                                  dismiss.
           CLJ    B190            Prepare subpoenas and update discovery requests for          3.80    750.00   2,850.00
                                  motion to dismiss.




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    Date   Init   Task     Actv   Description of Service                                     Hours      Rate    Amount
           BJM    B190            Conferred with Katherine Charonko Via Telephone Re:          .20    550.00     110.00
                                  Revisions to Proposed Discovery Plan and Document
                                  Review Coding Panel.
           BJM    B190            Reviewed Emails Between Katherine Charonko and               .10    550.00      55.00
                                  Anne Swift Re: Document Review.
           BJM    B190            Reviewed Email from Katherine Charonko Re: Hearing           .10    550.00      55.00
                                  Transcripts.
           BJM    B190            Reviewed Federal Rules of Bankruptcy Procedure, Court       3.30    550.00   1,815.00
                                  Filings, and Hearing Transcripts for Discovery matters
                                  and scope.
           TBB    B190            Review and analysis of 11/30/21 morning draft of            2.10    975.00   2,047.50
                                  revised motion to dismiss along with making suggested
                                  further revisions.
           TBB    B190            Review of Texas and North Carolina statutory provisions     1.30    975.00   1,267.50
                                  and case law regarding demands by shareholders and
                                  creditors for actions.
           TBB    B190            Review and analysis of 11/30/21 evening draft of             .50    975.00     487.50
                                  motion to dismiss incorporating multiple revisions
                                  sought by various parties and responding thereto.
           MBB    B190            Review draft ESI protocol.                                   .60    550.00     330.00
           MBB    B190            Review and comments on proposed motion to dismiss.           .30    550.00     165.00
           JEK    B190            Draft subpoenas for the production of documents and         1.80    325.00     585.00
                                  e-mail to C. Joshi
           JEK    B190            Draft subpoenas for production of documents and e-          1.60    325.00     520.00
                                  mail to C. Joshi.
           RRB    B190            Review of Tx law on derivative demands for LLC's;           1.60    850.00   1,360.00
                                  revised demand letter; email exchanges with T Bennett
                                  and J Turner re same
           JGT    B190            Telephone call with Kevin Barrett regarding background       .50    850.00     425.00
                                  facts and issues.
12/01/21   BAG    B190            Edit and recirculate to our side a meet and confer           .30    975.00     292.50
                                  communication on discovery as well as receive
                                  comments on same and circulate to Jones Day.
           BAG    B190            Think through testimony of an expert and make some           .30    975.00     292.50
                                  notes on same.
           BAG    B190            Outlining questions for Goodright deposition.               2.70    975.00   2,632.50
           BAG    B190            Edits to subpoenas and calls with Joshi on same.             .40    975.00     390.00
           BAG    B190            Read through redline of ESI protocol and comment back        .30    975.00     292.50
                                  to Kate on same.
           KEC    B190            Revision of ESI protocol following redline from Jones       2.70    750.00   2,025.00
                                  Day with circulation internally for approval and
                                  comments prior to service on defense.

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           DLS    B190            Communications Re RFAs, RPD, and INT to Debtor.                .30    750.00     225.00
           DLS    B190            Communications with BG Team, including, John Turner,           .20    750.00     150.00
                                  Robert Bell, and Brian Glasser Re Tasks for MTD.
           TLC    B190            Discovery--read and analyzed produced documents.              4.40    550.00   2,420.00
                                  Categorized documents and added information to the
                                  document tracker spreadsheet.
           KB     B190            Confer with Burrus re Committee calls.                         .10    975.00      97.50
           KB     B190            Review final motion to dismiss.                                .30    975.00     292.50
           KB     B190            Confer with M Burrus, including conference with B             1.30    975.00   1,267.50
                                  Glasser, re motion to dismiss.
           CLJ    B190            Prepare third-party subpoenas; review discovery               5.10    750.00   3,825.00
                                  requests; finalize discovery requests; confer with co-
                                  counsel, re: discovery requests; finalize and serve
                                  discovery requests.
           BJM    B190            Conferred with Katherine Charonko Via Telephone Re:            .10    550.00      55.00
                                  Review of Court Documents and Bankruptcy Rules in
                                  Preparation for Discovery.
           TBB    B190            Review of additional modifications to motion to dismiss        .30    975.00     292.50
                                  along with email regarding correcting modifications.
           MBB    B190            Motion to dismiss: Review and prepare comment on               .90    550.00     495.00
                                  motion to dismiss.
           MBB    B190            Confer with committee counsel re: various case filings         .50    550.00     275.00
                                  and discovery issues.
           MBB    B190            Motion to dismiss: continue review of co-counsel              1.40    550.00     770.00
                                  comments to motion to dismiss.
           JEK    B190            Retrieval of case document and correspondence.                 .60    325.00     195.00
           JEK    B190            E-mails to and from C. Joshi regarding subpoenas for           .40    325.00     130.00
                                  depositions and production of depositions from third
                                  parties.
           JEK    B190            Draft subpoenas for depositions and production of              .80    325.00     260.00
                                  depositions from Janssen, JJCI and Alex Gorsky
           JEK    B190            Upload exhibits to witness folders.                            .50    325.00     162.50
           JEK    B190            E-mails to and from C. Joshi regarding form for Affidavit      .40    325.00     130.00
                                  of Custodian of Records.
           RRB    B190            Review and respond to emails re discovery strategy;           1.00    850.00     850.00
                                  review of discovery requests propounded on LTL; email
                                  exchanges re documents to review to plan discovery
                                  plan
12/02/21   BAG    B190            Edit and recirculate Purple Strategies subpoena.               .30    975.00     292.50
           BAG    B190            Drafting and then emailing answer to the committee             .20    975.00     195.00
                                  they asked for on yesterday's call.


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Talc Creditors Committee                                                                               December 18, 2021
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    Date   Init   Task     Actv   Description of Service                                       Hours      Rate    Amount
           BAG    B190            Call with Kate Charonko and Danielle D'Aquilla about ESI      1.00    975.00     975.00
                                  protocol negotiations.
           BAG    B190            Meet and confer with Jones Day.                                .20    975.00     195.00
           BAG    B190            Reading through credentials of potential expert               2.80    975.00   2,730.00
                                  witnesses.
           BAG    B190            Edits to and circulate proposed PWC subpoena.                  .30    975.00     292.50
           BAG    B190            Continued preparation for the deposition of Goodright.        2.60    975.00   2,535.00
           KEC    B190            Communication regarding the ESI protocol drafting and          .20    750.00     150.00
                                  revisions.
           KEC    B190            Continued revisions to draft ESI protocol and circulation     1.40    750.00   1,050.00
                                  to defense counsel regarding revisions.
           KEC    B190            Call with Creditor Committee Counsel regarding ESI             .50    750.00     375.00
                                  protocol revisions.
           KEC    B190            Communication on discovery requests and analysis of            .90    750.00     675.00
                                  draft subpoenas.
           KEC    B190            Begin drafting and revisions of document analysis              .70    750.00     525.00
                                  protocol.
           DLS    B190            Preparation for Depositions including Review of Exhibits      6.50    750.00   4,875.00
                                  to Debtor's Initial Pleadings and Insurance of
                                  Documents, Prepare Deposition Outline based on
                                  Insurance Documents.
           TLC    B190            Analyzed bankruptcy law as it pertains to certain              .60    550.00     330.00
                                  discovery issues in adversary proceedings.
           TLC    B190            Analyzed Draft ESI Protocol.                                   .80    550.00     440.00
           TLC    B190            Call with KEC about coding memo project.                       .10    550.00      55.00
           TLC    B190            Drafting of coding memo.                                      2.60    550.00   1,430.00
           KB     B190            Review Joshi email re subpoena of documents and                .10    975.00      97.50
                                  witnesses and email correspondence with Joshi and
                                  Burrus re same.
           KB     B190            Email correspondence with M Burrus re two-step                 .10    975.00      97.50
                                  research.
           KB     B190            Confer with M Burrus re discovery.                             .60    975.00     585.00
           KB     B190            Review and revise memo on two-step transaction and            2.00    975.00   1,950.00
                                  email correspondence with M Burrus re same.
           KB     B190            Conference call with Joshi and Burrus re subpoena.             .40    975.00     390.00
           KB     B190            Confer with M Burrus re Texas Two-Step statute and             .70    975.00     682.50
                                  interpretation.
           KB     B190            Review Cypress notice of appearance and email                  .10    975.00      97.50
                                  correspondence with Glasser re same.




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    Date   Init   Task     Actv   Description of Service                                        Hours      Rate   Amount
           CLJ    B190            Prepare document requests for third-party subpoenas;           5.80    750.00   4,350.00
                                  Conference with M. Burrus and K. Barrett, re: requests
                                  to Jones Day; confer with local counsel, re: form
                                  subpoena.
           BJM    B190            Conferred with Katherine Charonko Re: Discovery and             .20    550.00    110.00
                                  Legal Research.
           BJM    B190            Reviewed Emails Between Katherine Charonko and                  .10    550.00     55.00
                                  Mark Rasmussen Re: Revisions to Proposed Discovery
                                  Plan.
           TBB    B190            Review of caselaw on dismissal of cases for lack of good       1.30    975.00   1,267.50
                                  faith filing for purposes of discovery issues/scope and
                                  trial.
           TBB    B190            Review of Texas caselaw and secondary authorities on            .90    975.00    877.50
                                  challenges to mergers along with call with T. Basdekis
                                  regarding scope of research on issue.
           TBB    B190            Review of revised draft of protective order for use in          .50    975.00    487.50
                                  bankruptcy case and revising draft order.
           MBB    B190            Motion to dismiss: Research re: Texas Divisional Merger        5.50    550.00   3,025.00
                                  Statute.
           MBB    B190            Motion to dismiss: Review proposed discovery requests           .30    550.00    165.00
                                  to LTL.
           MBB    B190            Motion to dismiss: Confer with C. Joshi and K. Barrett          .40    550.00    220.00
                                  re: discovery requests/subpoenas.
           MBB    B190            Review JD redlines re: ESI protocol.                            .30    550.00    165.00
           MBB    B190            Review proposed protective order and BR proposed                .30    550.00    165.00
                                  changes.
           JEK    B190            Draft subpoena for deposition to Purple Strategies and          .30    325.00     97.50
                                  e-mail to C. Joshi.
           JEK    B190            Draft subpoena for production of documents from                 .30    325.00     97.50
                                  PriceWaterhouseCooper, and e-mail to C. Joshi
           RRB    B190            Review and revise subpoena requests to PWC and email            .80    850.00    680.00
                                  exchanges re same
           RRB    B190            Additional email exchanges on documents requests to             .30    850.00    255.00
                                  third parties
           RRB    B190            Review of suits against J&J to assist in planning case and      .70    850.00    595.00
                                  discovery strategy
           JGT    B190            Begin reviewing material forwarded by Glasser relating          .80    850.00    680.00
                                  to other cases and brief t/c with Bell regarding same.
           DTM    B190            Review and revisions to Motion to Dismiss                       .80    750.00     600.00
12/03/21   BAG    B190            Meeting with core counsel group on whom to chose as            1.10    975.00   1,072.50
                                  experts and Financial Advisor.


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    Date   Init   Task     Actv   Description of Service                                       Hours      Rate    Amount
           BAG    B190            Call with Core discovery team on our response to Jones         .60    975.00     585.00
                                  Day's initial position on written discovery.
           BAG    B190            Meet and confer with Jones Day and then follow up call        1.50    975.00   1,462.50
                                  on our side with core discovery team to discuss our
                                  reactions on specific issues.
           BAG    B190            Continued preparation for deposition of Goodridge.            2.30    975.00   2,242.50
           KEC    B190            Analysis and review of ongoing discovery negotiations          .70    750.00     525.00
                                  of served discovery.
           KEC    B190            Analysis of MDL Confidentiality Order and comments to          .40    750.00     300.00
                                  B. Glasser.
           KEC    B190            Call with B. McAllister and T. Clackler regarding setting      .60    750.00     450.00
                                  of Motion to Dismiss discovery.
           KEC    B190            Analysis of response from Debtor counsel on discovery          .50    750.00     375.00
                                  requests in preparation for meet & confer.
           KEC    B190            Call with Committee Counsel regarding strategy for             .50    750.00     375.00
                                  meet & confer with Debtor counsel.
           KEC    B190            Meet and confer with Debtor's counsel regarding               1.30    750.00     975.00
                                  discovery.
           KEC    B190            Call with Committee Counsel regarding strategy from            .50    750.00     375.00
                                  meet & confer with Debtor's counsel on discovery.
           KEC    B190            Communication with Committee members regarding                 .40    750.00     300.00
                                  case updates and status of projects.
           DLS    B190            Continued Preparation for Motion to Dismiss Hearing           3.50    750.00   2,625.00
                                  and Depositions: Begin Review of Exhibits to Debtor's
                                  Initial Pleadings and Insurance Documents; Prepare
                                  Deposition Outline based on Insurance Documents.
           TLC    B190            Conference call with KEC concerning discovery issues.          .70    550.00     385.00
           KB     B190            Confer with Burrus re Texas Two-Step in context of             .40    975.00     390.00
                                  motion to dismiss.
           KB     B190            Review common interest agreement and email                     .30    975.00     292.50
                                  correspondence with D Clarke re same.
           CLJ    B190            Conference with discovery team.                               1.20    750.00     900.00
           CLJ    B190            Attend meet and confer with opposing counsel.                 1.00    750.00     750.00
           CLJ    B190            Prepare third party subpoenas.                                1.20    750.00     900.00
           CLJ    B190            Draft discovery requests.                                     2.30    750.00   1,725.00
           BJM    B190            Conferred with Katherine Charonko and Tony Clackler            .80    550.00     440.00
                                  Re: Discovery Issues.
           BJM    B190            Reviewed Talc Claimant Committee's Motion to Dismiss           .70    550.00     385.00
                                  Debtor's Chapter 11 Case in Preparation for Discovery.
           BJM    B190            Reviewed Revisions to Proposed Discovery Plan.                 .50    550.00     275.00



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    Date   Init   Task     Actv   Description of Service                                        Hours      Rate    Amount
           BJM    B190            Reviewed Coding Panel Memorandum in Preparation                 .20    550.00     110.00
                                  for Conference Call with Tony Clackler and Katherine
                                  Charonko to Discuss Discovery Issues.
           TBB    B190            Call with C. Joshi regarding additional discovery               .50    975.00     487.50
                                  requests of Middlesex Assurance and review of draft
                                  discovery.
           TBB    B190            Call regarding selection of advisors and evidentiary           1.10    975.00   1,072.50
                                  issues regarding use of advisors in connection with
                                  motion to dismiss.
           TBB    B190            Responding to email regarding evidentiary matters for           .30    975.00     292.50
                                  trial.
           MBB    B190            Motion to dismiss: Research to facilitate bad faith filing     3.10    550.00   1,705.00
                                  arguments.
           MBB    B190            Confer with K. Barrett re: bad faith filing arguments.          .70    550.00     385.00
           JEK    B190            Retrieval of witness list and e-mail to B. Glasser              .10    325.00      32.50
           RRB    B190            Review of pleadings from Imery case, Missouri case and         2.60    850.00   2,210.00
                                  NJ case against J&J RE statements and admissions.
           JGT    B190            In preparation for strategy session tomorrow review our        2.50    850.00   2,125.00
                                  Motion to Dismiss and the packet of pleadings relating
                                  to the various attempts by Talc claimants to obtain
                                  injunctive relief against J & J relating to the Texas two
                                  step.
12/04/21   BAG    B190            Working through each identified custodian to                   2.30    975.00   2,242.50
                                  determine relevance and our current desire to depose.
           BAG    B190            Outlining a proposed division of work among Brown               .50    975.00     487.50
                                  Rudnick and Bailey Glasser on the whiteboard.
           BAG    B190            Work with Turner on identifying granular tasks needed          3.50    975.00   3,412.50
                                  in the near future for the motion to dismiss for the
                                  master task list.
           KEC    B190            Strategy communication with team regarding Motion to            .40    750.00     300.00
                                  Dismiss discovery work.
           KEC    B190            Communication with Debtor's counsel regarding hit               .10    750.00      75.00
                                  reports.
           DLS    B190            Reviewing LTL documents to help prepare TCC                    6.60    750.00   4,950.00
                                  Affirmative Case, including custodian related
                                  documents.
           CLJ    B190            Prepare discovery summary.                                     1.80    750.00   1,350.00
           CLJ    B190            Prepare third-party subpoenas.                                  .90    750.00     675.00
           CLJ    B190            Follow up on service of third-party subpoenas.                 1.10    750.00     825.00
           CLJ    B190            Draft deposition subpoenas.                                    1.10    750.00     825.00
           CLJ    B190            Review next steps in document and depositions                  1.10    750.00     825.00
                                  strategies

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    Date   Init   Task     Actv   Description of Service                                         Hours      Rate   Amount
           RRB    B190            Review and organize documents to assist in preparation          6.20    850.00   5,270.00
                                  of fact chronology
           JGT    B190            Work with Glasser on identifying and creating task list         3.50    850.00   2,975.00
                                  for the upcoming MTD hearing.
           JGT    B190            Continue to review and analyze background facts                 3.20    850.00   2,720.00
                                  relating to the issues that will be pertinent to the
                                  resolution of the MTD in an effort to make sure that all
                                  relevant tasks for upcoming hearing have been
                                  identified.
           DTM    B190            Reviewing LTL documents to help prepare TCC MTD                 6.60    750.00   4,950.00
                                  depositions
12/05/21   BAG    B190            Work on order of proof.                                          .40    975.00     390.00
           BAG    B190            Work on outline for Goodridge deposition.                       4.20    975.00   4,095.00
           BAG    B190            Interview potential witnesses for MTD hearing.                  1.10    975.00   1,072.50
           DLS    B190            Continued Reviewing LTL documents to help prepare               6.80    750.00   5,100.00
                                  TCC Affirmative Case, including custodian related
                                  documents.
           RRB    B190            Review of formation documents and documents re                  5.80    850.00   4,930.00
                                  divisive merger and for fact chronology and began
                                  drafting fact chronology
           JGT    B190            Continue to identify and outline tasks for the task list in     2.20    850.00   1,870.00
                                  connection with the February MTD hearing.
           JGT    B190            Begin reviewing the 2020 Annual Report and 10Q.                 1.30    850.00   1,105.00
           JGT    B190            Review and analysis of issues relating to insurance             1.20    850.00   1,020.00
                                  coverage for the talc claims.
           JGT    B190            Continue identifying and reviewing material in the              1.40    850.00   1,190.00
                                  Imerys bankruptcy to prepare for upcoming
                                  depositions.
           DTM    B190            T/C with potential witnesses for MTD BK                         1.10    750.00     825.00
           DTM    B190            Review of documents and preparation for upcoming                4.50    750.00   3,375.00
                                  depositions for corporate representatives
12/06/21   BAG    B190            Meet and confer on discovery with Jones Day.                     .70    975.00    682.50
           BAG    B190            Edit letter to the court and circulate same for comment          .30    975.00    292.50
                                  as well as a call to Dan Stoltz.
           BAG    B190            Continued work outlining examination for Goodridge.             2.70    975.00   2,632.50
           BAG    B190            Call with Joshi outlining deliverable before tomorrow's          .20    975.00     195.00
                                  hearing.
           KEC    B190            Meet and confer with Debtors' counsel on ESI protocol            .50    750.00    375.00
                                  and discovery plan.
           KEC    B190            Meet and confer with Debtor's counsel regarding                  .90    750.00    675.00
                                  Motion to Dismiss discovery negotiations.


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    Date   Init   Task     Actv   Description of Service                                        Hours      Rate    Amount
           KEC    B190            Call with Brian Glasser and Jeff Jonas regarding Motion         .40    750.00     300.00
                                  to Dismiss discovery and ESI Protocol.
           KEC    B190            Analysis of documents for continued work on discovery          1.60    750.00   1,200.00
                                  planning and strategy.
           KEC    B190            Call with Brian McAllister regarding strategy on privilege      .10    750.00      75.00
                                  logs.
           KEC    B190            Email communications with Committee Representatives             .50    750.00     375.00
                                  regarding status and updates on filings.
           DLS    B190            In Firm Communications Re PI Witness and Report.                .20    750.00     150.00
           DLS    B190            Review Internal Work Product - Witness List and                 .20    750.00     150.00
                                  Outlines.
           DLS    B190            Information and Communication with John Turner and              .10    750.00      75.00
                                  Brian Glasser Re Charles Mullin Report.
           KB     B190            Research re bad faith dismissal, including review of           2.50    975.00   2,437.50
                                  divisive merger statute and Third Circuit standards for
                                  dismissal.
           KB     B190            Confer with M Burrus re research on Texas Two-Step in           .30    975.00     292.50
                                  preparation for litigation of motion to dismiss.
           CLJ    B190            Follow up on service of subpoenas.                             1.20    750.00     900.00
           CLJ    B190            Prepare correspondence to the court, re: depositions.          1.20    750.00     900.00
           CLJ    B190            Conference with co-counsel, re: discovery strategy.            3.30    750.00   2,475.00
           CLJ    B190            Attend meet and confer.                                        1.30    750.00     975.00
           CLJ    B190            Update key documents for discovery.                            1.40    750.00   1,050.00
           BJM    B190            Conferred with Katherine Charonko Re: Privilege                 .10    550.00      55.00
                                  Analysis.
           BJM    B190            Reviewed Emails from Katherine Charonko, Brian                  .20    550.00     110.00
                                  Glasser, and Co-Counsel Re: Orders of Proof and
                                  Attached Orders of Proof Document.
           TBB    B190            Analyzing financial data for JJCI with respect to              1.10    975.00   1,072.50
                                  intercompany transactions and treatment on tax filings-
                                  1.1 hr.
           MBB    B190            Motion to dismiss: confer with K. Barrett re: TX               1.00    550.00     550.00
                                  divisional merger statute.
           MBB    B190            Motion to dismiss: Continue research re: divisional            3.00    550.00   1,650.00
                                  merger issues to facilitate preparation for motion to
                                  dismiss hearing.
           JEK    B190            Update witness file for J. Kim                                  .20    325.00      65.00
           JEK    B190            E-mails to and from C. Joshi regarding witness files.           .10    325.00      32.50
           JEK    B190            Draft subpoena for deposition and production of                 .20    325.00      65.00
                                  documents to G.F. Bunting and e-mail to C. Joshi.



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    Date   Init   Task     Actv   Description of Service                                      Hours      Rate    Amount
           JEK    B190            E-mails to and from K. Charonko regarding set up of           .10    325.00      32.50
                                  Sharefile for litigation documents.
           JEK    B190            Set up sharefile for litigation documents and provide         .20    325.00      65.00
                                  access to attorneys.
           RRB    B190            Review and analysis of merger documents in connection        6.80    850.00   5,780.00
                                  with fact chronology; cont'd to draft fact chronology
           RRB    B190            Worked on issues relating to identifying custodians and       .60    850.00     510.00
                                  directors of various J&J entities in connection with
                                  discovery
           JGT    B190            Review and selection of relevant material from the           1.80    850.00   1,530.00
                                  Imerys bankruptcy.
           JGT    B190            Finalize task list and circulate to team.                    1.50    850.00   1,275.00
           JGT    B190            Receive feedback from team regarding task list and            .50    850.00     425.00
                                  finalize same.
           JGT    B190            Assist Cary with in determining board membership of           .30    850.00     255.00
                                  relevant entities.
           JGT    B190            Receive additional feedback from team regarding task          .40    850.00     340.00
                                  lists and make revisions to same.
           JGT    B190            Review and analysis of the LTL bankruptcy docket and         2.50    850.00   2,125.00
                                  identify and review material in order to develop better
                                  understanding of the background facts.
12/07/21   BAG    B190            Prepare for hearing with court over deposition of            1.50    975.00   1,462.50
                                  Goodridge as well as other issues that might arise,
                                  including receiving and responding to letters.
           BAG    B190            Further drafting of Goodridge outline.                       1.50    975.00   1,462.50
           BAG    B190            Review, approve and circulate revised task list to Brown      .30    975.00     292.50
                                  Rudnick for their concurrence.
           BAG    B190            Attend hearing on discovery.                                  .80    975.00     780.00
           BAG    B190            Post hearing call with Stoltz and Jonas on next moves.        .20    975.00     195.00
           BAG    B190            Outlining my remarks to the committee for tomorrow's          .40    975.00     390.00
                                  meeting on the motion to dismiss.
           KEC    B190            Communication with committee members regarding                .60    750.00     450.00
                                  filings and strategy.
           KEC    B190            Analysis and revisions of motion to dismiss discovery         .70    750.00     525.00
                                  outlines and communication with litigation team
                                  regarding the same.
           DLS    B190            Review Letter to Court Re Goodridge.                          .10    750.00      75.00
           KB     B190            Confer with J Turner re litigation strategy on motion to      .50    975.00     487.50
                                  dismiss.
           KB     B190            Confer with T Bennett re two-step research.                   .20    975.00     195.00
           CLJ    B190            Prepare deposition subpoenas.                                1.10    750.00     825.00


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    Date   Init   Task     Actv   Description of Service                                      Hours      Rate    Amount
           CLJ    B190            Update witness list.                                          .40    750.00     300.00
           CLJ    B190            Coordinate document subpoenas.                                .90    750.00     675.00
           TBB    B190            Review and analysis of debtor's counsel's response and        .20    975.00     195.00
                                  objection to discovery in preparation for call on
                                  discovery with Court.
           MBB    B190            Motion to dismiss: Research re: divisional merger.           1.40    550.00     770.00
           MBB    B190            Review Debtor proposed redlines to protective order.          .10    550.00      55.00
           JEK    B190            E-mails to and from J. Turner regarding whiteboard            .20    325.00      65.00
                                  images.
           RRB    B190            Review of task list and assignments and review of             .30    850.00     255.00
                                  custodian list in connection with possible witnesses
           RRB    B190            Review of closing documents, and pleadings and               6.80    850.00   5,780.00
                                  exhibits from LTL bankruptcy docket for facts pertinent
                                  to case and for entry on fact chronology; cont'd to
                                  review and revise fact chronology
           JGT    B190            Assist Glasser with preparation for upcoming discovery       1.70    850.00   1,445.00
                                  hearing.
           JGT    B190            Conduct review of Motions (and exhibits) relating to the     1.30    850.00   1,105.00
                                  Motion to transfer venue.
           JGT    B190            Assist with Goodridge deposition preparation.                 .50    850.00     425.00
           JGT    B190            Review and analysis of the October 11 Approval                .40    850.00     340.00
                                  Memorandum.
           JGT    B190            Identify and review articles regarding J & J talc claims     1.60    850.00   1,360.00
                                  and J & J's various approaches to dealing with same.
           JGT    B190            Review and analysis of docket and pleadings relating to      1.30    850.00   1,105.00
                                  the Trane Technologies and CertainTeed bankruptcies.
12/08/21   BAG    B190            Thinking thorough discovery dispute with Debtor.              .20    975.00     195.00
           BAG    B190            Call with committee member representative to answer           .40    975.00     390.00
                                  questions.
           BAG    B190            Giving assignment to Selby on our affirmative case.           .10    975.00      97.50
           BAG    B190            Giving assignment to Turner.                                  .10    975.00      97.50
           BAG    B190            Call with Barrett about an aspect of proof for the            .20    975.00     195.00
                                  motion to dismiss.
           BAG    B190            Conference with co-counsel to prepare for committee           .90    975.00     877.50
                                  meeting, assigning roles and determining counsel
                                  position on several issues.
           BAG    B190            Working through my notes as well as documents to             1.20    975.00   1,170.00
                                  determine the first seven custodians we wish to
                                  designate.




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Talc Creditors Committee                                                                              December 18, 2021
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    Date   Init   Task     Actv   Description of Service                                      Hours      Rate   Amount
           BAG    B190            Lengthy call with the committee to brief them on             1.70    975.00   1,657.50
                                  motion to dismiss strategy and experts, among other
                                  things.
           BAG    B190            Call with Committee Representative on one piece of            .10    975.00     97.50
                                  proof in the motion to dismiss.
           BAG    B190            Email traffic searching for a relevant witness.               .10    975.00      97.50
           BAG    B190            Reading documents flagged for me by a committee              1.90    975.00   1,852.50
                                  representative.
           KEC    B190            Strategy communication regarding ongoing discovery            .40    750.00    300.00
                                  and work regarding custodians.
           KEC    B190            Continued work and revisions to ESI protocol discovery        .90    750.00    675.00
                                  analysis.
           KEC    B190            Communication and work regarding document analysis            .90    750.00    675.00
                                  of materials related to upcoming depositions and
                                  motion to dismiss discovery.
           DLS    B190            Internal Communications with Brian Glasser Re BCBS            .20    750.00    150.00
                                  Information. External Communications with BCBS TCC
                                  Member.
           TLC    B190            Drafting and editing of coding memo.                          .80    550.00    440.00
           KB     B190            Confer with Glasser re litigation strategy on motion to       .30    975.00    292.50
                                  dismiss.
           KB     B190            Email correspondence with BG team re abridging rights         .20    975.00    195.00
                                  in divisive merger in preparation for dismissal hearing.
           CLJ    B190            Follow up on third-party discovery.                           .50    750.00     375.00
           TBB    B190            Analyzing debtor's schedules regarding valuations for        1.10    975.00   1,072.50
                                  purposes of motion to dismiss and memo regarding
                                  same.
           TBB    B190            Zoom meeting of counsel for committee regarding               .90    975.00    877.50
                                  strategy and related issues along with meeting with
                                  clients' representatives.
           TBB    B190            Zoom meeting with client's representatives/counsel           1.70    975.00   1,657.50
                                  regarding various issues involving motion to dismiss,
                                  preliminary injunction, and other contested matters.
           MBB    B190            Confer with committee co-counsel re: litigation strategy      .90    550.00    495.00
                                  and upcoming hearings.
           MBB    B190            Confer with committee members re re: litigation              1.70    550.00    935.00
                                  strategy, upcoming hearings, and retention of
                                  professionals.
           MBB    B190            Motion to dismiss: Confer with K. Barrett re: TX              .10    550.00     55.00
                                  divisional merger statute.
           MBB    B190            Motion to dismiss: continue research re: divisional          2.50    550.00   1,375.00
                                  merger.

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Talc Creditors Committee                                                                                  December 18, 2021
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    Date   Init   Task     Actv   Description of Service                                          Hours      Rate   Amount
           RRB    B190            Review of informational briefs filed by debtor and by            7.40    850.00   6,290.00
                                  Talc claimants for various factual statements made
                                  pertaining to case as part of continued drafting and
                                  editing of fact chronology.
           JGT    B190            Review of the J & J privilege log in the talc litigation and      .50    850.00    425.00
                                  search for references to potential deponents
           JGT    B190            Continued legal research regarding the "new debtor               1.50    850.00   1,275.00
                                  syndrome" in Bankruptcy Courts and Courts of Appeals.
           JGT    B190            Finish reviewing pleadings and background documents              1.70    850.00   1,445.00
                                  relating to the LTL bankruptcy.
           JGT    B190            Assist with preparation for the deposition of Goodridge.         2.20    850.00   1,870.00
           JGT    B190            Review press accounts and stock analysts' consideration           .80    850.00     680.00
                                  of the J&J spin off of the Consumer Unit.
           JGT    B190            Review the Imerys Proposed Plan to ascertain the                  .70    850.00    595.00
                                  amount and nature of the proposed Trust assets and
                                  the value of those assets.
12/09/21   BAG    B190            Meeting with Jeff Jonas and Danielle D'Aquila and my              .60    975.00    585.00
                                  team on the custodians we want to name and assigning
                                  tasks.
           BAG    B190            Drafting then exchanging emails with Jones Day on                 .40    975.00    390.00
                                  discovery issues.
           BAG    B190            Call with co-counsel to outline the response on the               .90    975.00    877.50
                                  preliminary injunction and to agree on our position on
                                  meet and confer issues with Jones Day for later tonight.
           BAG    B190            Drafting, circulating and then sending email to Jones             .20    975.00    195.00
                                  Day accepting deposition dates for certain witnesses.
           BAG    B190            Meet and confer with Jones Day.                                   .30    975.00     292.50
           BAG    B190            Read Arnold & Itkin's Motion to Dismiss.                         1.10    975.00   1,072.50
           BAG    B190            Working through the discovery disputes as they stand             1.60    975.00   1,560.00
                                  to draft a comprehensive summary email to Jones Day.
           KEC    B190            Strategy call with T. Clackler regarding revisions to             .40    750.00    300.00
                                  document regarding training memorandum.
           KEC    B190            Communication with Jones Day on discovery issues and              .50    750.00    375.00
                                  ESI protocol.
           KEC    B190            Email communication with committee regarding                      .60    750.00    450.00
                                  strategy and filings.
           KEC    B190            Litigation team strategy call on discovery issues.                .50    750.00    375.00
           KEC    B190            Analysis and drafting work related to document analysis          1.30    750.00    975.00
                                  for ongoing development of Motion to Dismiss
                                  advancement.
           KEC    B190            Drafting and revisions of Motion to Dismiss document             1.90    750.00   1,425.00
                                  review training memorandum and materials.

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    Date   Init   Task     Actv   Description of Service                                         Hours      Rate    Amount
           DLS    B190            Conference Call with Liz Carter and Pam Slate re:                .60    750.00     450.00
                                  Motion to Dismiss.
           DLS    B190            Internal Communications Re Depositions of Goodridge,             .50    750.00     375.00
                                  Azedvedo, and Wuesthoff.
           DLS    B190            Communications with John Turner and Todd Mathews                 .10    750.00      75.00
                                  re Info in Imerys Amended Plan.
           TLC    B190            Reviewed, analyzed, and coded documents for AI.                 2.00    550.00   1,100.00
           CLJ    B190            Update key documents for hearing.                                .40    750.00     300.00
           CLJ    B190            Update subpoenas.                                                .90    750.00     675.00
           TBB    B190            Meeting of counsel regarding response to debtor's                .90    975.00     877.50
                                  request for extension of preliminary injunction including
                                  discovery issues.
           MBB    B190            Review Arnold & Itkin notice of and motion to dismiss            .40    550.00     220.00
                                  case.
           JEK    B190            E-mails to and from C. Joshi regarding subpoena to               .30    325.00      97.50
                                  Scott Erikson at Travelers
           JEK    B190            Draft subpoena to Scott Erikson at Travelers and e-mail          .40    325.00     130.00
                                  to C. Joshi
           RRB    B190            Review and analysis of various documents re:                    5.40    850.00   4,590.00
                                  declarations filed in LTL bankruptcy proceeding, exhibits
                                  to declarations, exhibits to various motions filed in case,
                                  including motion to transfer, and review of hearing
                                  transcripts from first day hearing and injunction hearing
                                  as part of drafting and editing fact chronology to
                                  support claims.
           JGT    B190            Review insurance company correspondence.                         .80    850.00     680.00
           JGT    B190            Review and analysis of Funding Agreement to develop              .80    850.00     680.00
                                  areas of inquiries for upcoming depositions.
           JGT    B190            Continued preparation for the deposition of Goodridge.          1.50    850.00   1,275.00
           JGT    B190            Brief review of the scope of documents previously                .50    850.00     425.00
                                  produced by J&J in the LTL bankruptcy proceeding
           JGT    B190            Begin efforts to obtain and review the docket for New            .20    850.00     170.00
                                  Jersey declaratory action proceeding.
           JGT    B190            Review the MTD filed by Arnold and Itkin.                        .50    850.00     425.00
           JGT    B190            Prepare examination outline for Goodridge deposition            2.50    850.00   2,125.00
                                  to cover additional selected topics (includes time spent
                                  selecting additional exhibits for possible use at the
                                  deposition).
           JGT    B190            Brief review of the exhibits to the Mullin deposition.           .30    850.00     255.00
           JSC    B190            Research re and draft case summaries for chart of cases         1.70    550.00     935.00
                                  denying motions to dismiss chapter 11 petitions on bad
                                  faith grounds.

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    Date   Init   Task     Actv   Description of Service                                       Hours      Rate    Amount
12/10/21   BAG    B190            Review and think through email and attachments form            .20    975.00     195.00
                                  Jones Day.
           BAG    B190            Call with Stoltz and Jonas to determine our position on        .10    975.00      97.50
                                  a discovery issue.
           BAG    B190            Telephone call with committee representative on                .40    975.00     390.00
                                  strategy.
           BAG    B190            Preparation call among counsel for call with committee         .30    975.00     292.50
                                  members.
           BAG    B190            Draft meet and confer summary email to Jones Day.             2.30    975.00   2,242.50
           BAG    B190            Call with committee members themselves to orient              1.10    975.00   1,072.50
                                  them to the case strategy and answer questions.
           BAG    B190            Email traffic with Jones Day on the depositions.               .10    975.00      97.50
           KEC    B190            Communication with Debtor's counsel regarding                  .60    750.00     450.00
                                  ongoing meet and confer on discovery issues.
           KEC    B190            Analysis of revised hit report from Debtor's counsel           .30    750.00     225.00
                                  regarding discovery requests.
           KEC    B190            Communications with litigation team regarding                  .30    750.00     225.00
                                  discovery negotiations and meet and confer with
                                  Debtor's counsel.
           DLS    B190            Emails from and to Don Clarke and others Re upcoming           .30    750.00     225.00
                                  depositions and subpoenas. Internal Communications
                                  Re Same.
           TLC    B190            Reviewed, analyzed, and coded docs for AI training.           5.80    550.00   3,190.00
           CLJ    B190            Prepare summary of all discovery disputes to date for all     2.10    750.00   1,575.00
                                  parties.
           CLJ    B190            Follow up on third-party subpoenas and depositions.           1.00    750.00     750.00
           TBB    B190            Review of documents and emails regarding selection of          .30    975.00     292.50
                                  financial advisors for Motion to Dismiss along with
                                  scheduling of interviews of same.
           JEK    B190            E-mails to and from J. Turner regarding exhibits for           .10    325.00      32.50
                                  Goodright.
           MRR    B190            Per review and analysis of documents in binders, create       2.10    325.00     682.50
                                  index listing tab number, bates ranges, document
                                  description, and document date.
           RRB    B190            Review and analysis of arguments and authorities in            .70    850.00     595.00
                                  Arnold & Itkin's MTD
           JGT    B190            Participate in telephone conference with Glasser and           .30    850.00     255.00
                                  other attorneys re: Motion to Dismiss.
           JGT    B190            Continue process of gathering information in the New           .40    850.00     340.00
                                  Jersey State Court insurance action.



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    Date   Init   Task     Actv   Description of Service                                      Hours      Rate   Amount
           JGT    B190            Finish outlining additional topics for the Goodridge         2.70    850.00   2,295.00
                                  deposition and provide same to Glasser.
           JGT    B190            Review services agreements in the closing binders in          .30    850.00    255.00
                                  connection with the meet and confer letter.
           JGT    B190            Review exhibits (4 binders) from the PI hearing.             1.50    850.00   1,275.00
           JSC    B190            Research re and draft case summaries for chart of cases       .80    550.00    440.00
                                  denying motions to dismiss petitions on bad faith
                                  grounds.
12/11/21   BAG    B190            Review, draft and circulate email traffic with Jones Day      .80    975.00    780.00
                                  on pending discovery requests.
           BAG    B190            Email traffic with Don Clarke on serving relevant folks       .10    975.00     97.50
                                  with notices of deposition.
           BAG    B190            Continued work on Goodright examination.                      .80    975.00    780.00
           BAG    B190            Review edit and circulate proposed letter to court on         .30    975.00    292.50
                                  discovery dispute.
           BAG    B190            Read and respond to email from Stoltz on letter.              .10    975.00      97.50
           DLS    B190            Preparation and Work Related to MTD and Goodridge            2.50    750.00   1,875.00
                                  Deposition.
           CLJ    B190            Draft letter to court, re: redacted board meeting             .60    750.00    450.00
                                  minutes.
           CLJ    B190            Research, re: privilege.                                      .60    750.00    450.00
           TBB    B190            Review of supplemental documents from potential               .90    975.00    877.50
                                  financial advisors and transcripts of testimony of
                                  potential financial advisors in advance of interviews.
12/12/21   BAG    B190            Revise letter and circulate to core team.                     .10    975.00      97.50
           BAG    B190            Comment to Stark on a request he made.                        .10    975.00      97.50
           BAG    B190            Finish and circulate first draft of Goodridge                1.20    975.00   1,170.00
                                  examination.
           BAG    B190            Further edits to Goodridge exam.                              .40    975.00    390.00
           DLS    B190            Preparation and Work Related to MTD.                         1.20    750.00    900.00
           TBB    B190            Review of questions for deposition of Goodridge along        2.60    975.00   2,535.00
                                  with drafting of revisions to questions and review of
                                  revised draft.
12/13/21   BAG    B190            Email with MTD core counsel for strategy call.                .10    975.00     97.50
           BAG    B190            Email with Jones Day about agreed exhibit.                    .10    975.00     97.50
           BAG    B190            Meet with staff on index to documents.                        .10    975.00     97.50
           BAG    B190            Call with core mtd team on discovery disputes and             .50    975.00    487.50
                                  relevant custodians with follow up email to Jones Day.
           BAG    B190            Reviewing task list assignments with core MTD team.           .50    975.00    487.50




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    Date   Init   Task     Actv   Description of Service                                      Hours      Rate   Amount
           BAG    B190            Interviewing experts and FAs and choosing, with              4.40    975.00   4,290.00
                                  Committee.
           BAG    B190            Reading through Jones Day's latest discovery missive         1.70    975.00   1,657.50
                                  and making notes related to same.
           BAG    B190            Meet and confer with Jones Day on hearing on the 15th.        .90    975.00    877.50
           KEC    B190            Strategy call with Motion to Dismiss team regarding           .60    750.00    450.00
                                  ongoing litigation tasks.
           KEC    B190            Strategy emails with litigation team regarding Motion to      .70    750.00    525.00
                                  Dismiss tasks and discovery.
           KEC    B190            Analysis of letters and emails from Jones Day regarding      1.90    750.00   1,425.00
                                  Motion to Dismiss discovery negotiations.
           KEC    B190            Continued analysis and work with documents as they           1.90    750.00   1,425.00
                                  relate to Motion to Dismiss discovery.
           CLJ    B190            Review recent correspondence, re: discovery.                  .30    750.00    225.00
           CLJ    B190            Conference with internal team, re: response to                .50    750.00    375.00
                                  discovery disputes and to do items.
           CLJ    B190            Conference with internal team, task list for trial           1.00    750.00    750.00
                                  preparation.
           CLJ    B190            Draft letter to court, re: discovery dispute on redacted     1.50    750.00   1,125.00
                                  board meeting notes; gather feedback then finalize and
                                  send letter.
           CLJ    B190            Research, re: third party deposition subpoena process.        .60    750.00    450.00
           CLJ    B190            Conference with D. Clarke, re: status of subpoenas.           .50    750.00    375.00
           CLJ    B190            Assign out trial preparation tasks and communicate            .90    750.00    675.00
                                  tasks.
           CLJ    B190            Review recent filings related to Motion to Dismiss.           .50    750.00    375.00
           BJM    B190            Reviewed Legal Research Memorandum Re: Privilege.             .30    550.00    165.00
           TBB    B190            Further review of supplemental materials supplied by          .40    975.00    390.00
                                  potential financial advisors for motion to dismiss and
                                  preliminary injunction matters for interviews.
           TBB    B190            Zoom meetings with clients and co-counsel regarding           .80    975.00    780.00
                                  financial advisors and interviews.
           MBB    B190            Motion to dismiss: Review Goodridge deposition                .90    550.00    495.00
                                  outline.
           JEK    B190            Revise subpoenas for depositions and production of            .80    325.00    260.00
                                  documents and e-mail to C. Joshi.
           JEK    B190            Update case calendar with new deadlines and hearing           .30    325.00     97.50
                                  dates.
           JEK    B190            E-mails to and from R. Bell regarding transcripts from        .20    325.00     65.00
                                  hearings.



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    Date   Init   Task     Actv   Description of Service                                        Hours      Rate    Amount
           MRR    B190            Per review of final binder and electronic documents,           1.80    325.00     585.00
                                  analyze, and update index listing various information
                                  regarding documents, and disseminate index to
                                  attorneys for review.
           RRB    B190            Review and analysis of documents and background                3.00    850.00   2,550.00
                                  information on J&J and talc litigation, including
                                  information from talc cases for inclusion in fact
                                  chronology
           JGT    B190            Review status of pending matters re: Motion to Dismiss.         .30    850.00     255.00
           JGT    B190            Review pleadings related to the insurance declaratory          1.10    850.00     935.00
                                  judgment action.
           JGT    B190            Review LTL bankruptcy docket and selection and review          1.30    850.00   1,105.00
                                  of substantive pleadings filed.
           JGT    B190            Review most recent witness and task list.                       .20    850.00     170.00
           DTM    B190            Numerous emails and phone calls with vendor,                   1.80    750.00   1,350.00
                                  opposing counsel and co-counsel coordinating for the
                                  depositions on Dec 20 and 22.
12/14/21   BAG    B190            Gathering base documentation and outlining and                 3.80    975.00   3,705.00
                                  preparing powerpoint for omnibus hearing, including
                                  numerous edits and calls on same with co-counsel.
           KEC    B190            Strategy call with J. Turner and R. Bell regarding Motion       .40    750.00     300.00
                                  to Dismiss discovery.
           KEC    B190            Conference with Arnold Blair regarding discovery               1.00    750.00     750.00
                                  platform training and strategy.
           KEC    B190            Working on analysis of meeting minutes in anticipation          .60    750.00     450.00
                                  of hearings on Wednesday.
           KEC    B190            Communication with bankruptcy team regarding                    .40    750.00     300.00
                                  ongoing discovery projects .
           KEC    B190            Communication with T. Clackler regarding discovery              .80    750.00     600.00
                                  issue on searchable sources of discovery in Third Circuit.
           KEC    B190            Communication with team regarding execution of MDL              .30    750.00     225.00
                                  protective order and executing protective order.
           KEC    B190            Communications with Motion to Dismiss team                      .50    750.00     375.00
                                  regarding responses to discovery letters from Jones
                                  Day.
           DLS    B190            Review JPML Order - Bankruptcy does not bar transfer            .20    750.00     150.00
                                  of talc claims into MDL Docket.
           DLS    B190            Assist with Prepare for Goodridge Deposition.                   .50    750.00     375.00
           TLC    B190            Research on discovery and custodian issues. Sent               1.20    550.00     660.00
                                  findings to KEC.




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    Date   Init   Task     Actv   Description of Service                                       Hours      Rate    Amount
           KB     B190            Review flow chart of divisional merger and consider            .20    975.00     195.00
                                  issues relating to the same under UFTA and merger
                                  statute.
           KB     B190            Confer with J Turner re discovery and dismissal issues.        .20    975.00     195.00
           KB     B190            Review deposition outline for Goodright, including             .90    975.00     877.50
                                  review of dismissal motions to determine necessary
                                  facts.
           CLJ    B190            Review correspondence, re: choice of 7 custodians for          .80    750.00     600.00
                                  documents searches.
           CLJ    B190            Review memo and do additional research, re: attorney           .90    750.00     675.00
                                  client privilege.
           CLJ    B190            Review documents from Adversary Proceeding in                 1.80    750.00   1,350.00
                                  preparation for depositions.
           CLJ    B190            Correspond with local counsel, re: subpoena to                 .20    750.00     150.00
                                  Travelers.
           CLJ    B190            Draft email, re: redacted offer letter of J. Kim.              .30    750.00     225.00
           BJM    B190            Reviewed Confidentiality Order.                                .20    550.00     110.00
           BJM    B190            Exchanged Emails with Katherine Charonko and                   .10    550.00      55.00
                                  Whitney Johnson Re: Acknowledgment of
                                  Confidentiality Order.
           MBB    B190            Motion to dismiss: Review letter to court re: Debtor's         .10    550.00      55.00
                                  redaction of board minutes.
           MBB    B190            Motion to dismiss: review Debtor's response to                 .10    550.00      55.00
                                  Committee letter to court re: redacted board minutes.
           RRB    B190            Review and execute confidentiality order                       .20    850.00     170.00
           RRB    B190            T/c with Kate Charanko and John Turner re document             .70    850.00     595.00
                                  review project for various custodians
           RRB    B190            Review of pretrial issues including status of discussions      .40    850.00     340.00
                                  of various items set for Omnibus hearing and issues re
                                  MDL transfer order
           RRB    B190            Review of memo on document review plan                         .20    850.00     170.00
           RRB    B190            Review and respond to email from Brown Rudnick re              .20    850.00     170.00
                                  fact chronology
           RRB    B190            Review and select documents from custodian folders off        2.30    850.00   1,955.00
                                  disco database for deposition and trial exhibits
           RRB    B190            Review documents from talc litigation cases and from          2.10    850.00   1,785.00
                                  Imerys bankruptcy for additions to fact chronology;
                                  review and revise fact chronology
           JGT    B190            Review status of pending matters (includes exchange of         .50    850.00     425.00
                                  e-mails and telephone conferences with team
                                  members) re: Motion to Dismiss.


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    Date   Init   Task     Actv   Description of Service                                         Hours      Rate    Amount
           JGT    B190            In preparation for upcoming call, review link forwarded          .30    850.00     255.00
                                  by Kate Charonko and brief telephone conference with
                                  Bell regarding same.
           JGT    B190            Attention to preparation for upcoming depositions.               .30    850.00     255.00
           JGT    B190            Telephone conference regarding the document review               .60    850.00     510.00
                                  project relating to hits on proposed custodians.
           JGT    B190            Review spreadsheet regarding case law relating to bad            .30    850.00     255.00
                                  faith dismissal of Chapter 11 bankruptcy.
           JGT    B190            Review J & J Confidentiality Order and execute                   .10    850.00      85.00
                                  Agreement.
           JGT    B190            Review and analysis of document review memo                      .20    850.00     170.00
                                  forwarded by Kate.
           JGT    B190            Review and liability tag my portion of the targeted             1.80    850.00   1,530.00
                                  review documents in the LTL Management library
                                  (includes a review of the Lisman deposition).
           JSC    B190            Research re and draft summary of cases denying                  5.10    550.00   2,805.00
                                  dismissal of Chapter 11 petitions on bad faith grounds.
           DTM    B190            Acquisition and Coordination of information for                  .50    750.00     375.00
                                  Depositions for Dec 20 and 22
12/15/21   BAG    B190            Prepare for and attend omnibus hearing to handle                6.00    975.00   5,850.00
                                  discovery issues and subsequent meeting with
                                  committee representatives.
           BAG    B190            Call with Committee representative about depositions.            .10    975.00      97.50
           BAG    B190            Reading US Trustee's motion and memoranda in                     .30    975.00     292.50
                                  support of an examiner and email traffic on same.
           KEC    B190            Attend Omnibus Hearing via Zoom.                                3.00    750.00   2,250.00
           KEC    B190            Analysis and revisions of various drafts of ESI Protocol        1.90    750.00   1,425.00
                                  and discovery plan.
           KEC    B190            Strategy communication regarding revisions of ESI                .70    750.00     525.00
                                  Protocol with Motion to Dismiss team.
           KEC    B190            Post hearing strategy call with Motion to Dismiss team           .50    750.00     375.00
                                  regarding judicial rulings.
           KEC    B190            Post hearing strategy call with C. Joshi regarding judicial      .50    750.00     375.00
                                  rulings.
           KEC    B190            Post hearing strategy call with B. Glasser regarding             .50    750.00     375.00
                                  judicial rulings.
           KEC    B190            Post hearing strategy call and revisions to ESI Protocol         .40    750.00     300.00
                                  with B. McAllister.
           DLS    B190            Post hearing strategy call with B. Glasser regarding             .30    750.00     225.00
                                  insurance documents and information for upcoming
                                  depositions.


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    Date   Init   Task     Actv   Description of Service                                      Hours      Rate    Amount
           KB     B190            Confer with Glasser re discovery conference and               .10    975.00      97.50
                                  outcomes.
           CLJ    B190            Attend 341 hearing for exam by TCC attorneys.                1.30    750.00     975.00
           CLJ    B190            Conference with legal team, re: updates from hearings         .30    750.00     225.00
                                  and follow issues to address.
           BJM    B190            Conferred with Katherine Charonko Via Telephone Re:           .40    550.00     220.00
                                  Omnibus Hearing and ESI Protocol.
           BJM    B190            Reviewed and revised Draft Discovery Plan and ESI             .30    550.00     165.00
                                  Protocol.
           BJM    B190            Reviewed Jones Day's December 13, 2021 Meet-and-              .40    550.00     220.00
                                  Confer Letter in Conjunction with Discovery.
           JEK    B190            E-mails to and from C. Joshi regarding research files.        .20    325.00      65.00
           JEK    B190            Retrieval and organize research files.                       1.20    325.00     390.00
           JEK    B190            Update case calendar regarding objection deadlines.           .20    325.00      65.00
           JEK    B190            E-mails to and from Court Reporter and Attorneys              .50    325.00     162.50
                                  regarding depositions scheduled for December 20, 2021
                                  and December 22, 2021
           JGT    B190            Review insurance dec action docket and begin                 2.50    850.00   2,125.00
                                  reviewing identified pleadings.
           DTM    B190            Attend Omnibus Hearing.                                      3.00    750.00   2,250.00


                                        Sub-Total of Task             $ 637,107.50

B195 Non Working Travel

    Date   Init   Task     Actv   Description of Service                                      Hours      Rate    Amount
11/11/21   DLS    B195            Travel from Charlotte NC to Birmingham: Talc Creditors       4.70    750.00   3,525.00
                                  Committee Meeting and Venue Bankruptcy Hearing (9.4
                                  hours marked down to one-half time).
11/14/21   BAG    B195            Travel from DC to NYC for meetings with committee and        2.10    975.00   2,047.50
                                  co-counsel (4.2 hours marked down to one-half).
           DLS    B195            Prepare for and Travel from Birmingham to NYC:               4.10    750.00   3,075.00
                                  Meetings with Talc Creditors Committee and Co-Counsel
                                  (8.2 hours marked down to one-half).
           CLJ    B195            Travel to NYC for meeting with clients (1.8 hours marked      .90    750.00     675.00
                                  down to one-half).
           MBB    B195            Travel to NYC for meetings with co-counsel and               4.50    550.00   2,475.00
                                  creditors' committee members re: case strategy (9.0
                                  hours marked down to one-half).




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    Date   Init   Task     Actv   Description of Service                                       Hours      Rate   Amount
           DTM    B195            Travel from STL to NYC for CC meetings on Dec 15 and          3.20    750.00   2,400.00
                                  16, including 2 hr travel delay (6.4 hours marked down to
                                  one-half).
11/15/21   KB     B195            Travel to NYC for creditors committee meetings (2.0           1.00    975.00    975.00
                                  hours marked down to one-half).
           TBB    B195            Travel to New York for meeting with committee                 1.60    975.00   1,560.00
                                  members and co-counsel-(6.2 hr marked down to one-
                                  half of 3.2 hours)
11/16/21   BAG    B195            Travel from NYC back to DC (3.0 hours marked down             1.50    975.00   1,462.50
                                  one-half).
           KEC    B195            Travel back to West Virginia from Creditor Committee          2.80    750.00   2,100.00
                                  meeting (5.6 hours marked down one-half).
           DLS    B195            Travel from NYC to Birmingham: Meetings with Talc             3.90    750.00   2,925.00
                                  Creditors Committee and Co-Counsel (7.8 hours marked
                                  down one-half).
           CLJ    B195            Travel from New York to Washington, DC (1.4 hours              .70    750.00    525.00
                                  marked down one-half).
           MBB    B195            Travel from NYC meetings to DC (1.4 hours marked down          .70    550.00    385.00
                                  one-half).
           DTM    B195            Travel from NYC to STL from CC meetings (4.6 hours            2.30    750.00   1,725.00
                                  marked down one-half).
11/17/21   TBB    B195            Return from New York meeting to office (6.0 hours             1.50    975.00   1,462.50
                                  marked down one-half of 3.0 hours)
11/18/21   MBB    B195            Travel from DC to CRW (2.6 hours marked down one-             1.30    550.00    715.00
                                  half).
11/20/21   TBB    B195            Travel to Trenton, NJ for meeting with counsel on             1.40    975.00   1,365.00
                                  11/21/21 and bankruptcy court hearings on 11/22/21
                                  (5.6 hours marked down one-half of 2.8 hours).
11/21/21   BAG    B195            Travel from DC to Princeton (3.6 hours marked down            1.80    975.00   1,755.00
                                  one-half)
11/22/21   BAG    B195            Travel to hearing in Trenton (.40 hours, but only billed       .20    975.00    195.00
                                  one-half).
           BAG    B195            Begin travel home from Trenton, NJ (.80 hours marked           .40    975.00    390.00
                                  down one-half).
11/23/21   BAG    B195            Finish the drive home from yesterday's hearing in             1.40    975.00   1,365.00
                                  Trenton, NJ (2.8 hours marked down one-half).
           TBB    B195            Travel Trenton/Princeton to home office in Lexington,         1.60    975.00   1,560.00
                                  Va. (6.4 hours marked down one-half of 3.2 hours)
12/01/21   DLS    B195            Travel from Boston Office to DC for Firm Strategy             2.50    750.00   1,875.00
                                  Meetings, Document Review, and Deposition
                                  Preparation (2.5 hours marked down one-half).



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    Date    Init    Task   Actv   Description of Service                                    Hours      Rate   Amount
12/03/21    RRB     B195          Travel from Waco to DC for to work on discovery issues     2.60    850.00   2,210.00
                                  and planning re MTD hearing (5.2 hours marked down
                                  one-half).
            JGT     B195          Travel time from Austin to Washington DC for team          2.20    850.00   1,870.00
                                  meeting (work done during travel but billed separately
                                  and is not included in this amount) 4.4 hours marked
                                  down one-half).
12/09/21    RRB     B195          Travel from DC back to Waco, TX (8.4 hours marked          4.20    850.00   3,570.00
                                  down one-half).
12/10/21    JGT     B195          Travel time (5.6 hours marked down to one-half).           2.80    850.00   2,380.00
12/14/21    BAG     B195          Travel to Princeton for hearing tomorrow (3.8 hours        1.90    975.00   1,852.50
                                  marked down one-half).
            TBB     B195          Travel to Trenton, NJ for 12/15/21 for hearings on         1.50    975.00   1,462.50
                                  various matters (6.0 hours marked down one-half of 3.0
                                  hours).
12/15/21    BAG     B195          Drive to DC from Court (4.2 hours marked down one-         2.10    975.00   2,047.50
                                  half).
            TBB     B195          Return travel from Newark, N.J. (6.0 hours marked down     1.50    975.00   1,462.50
                                  one-half of 3.0 hours).


                                          Sub-Total of Task            $ 53,392.50

                                          TOTAL PROFESSIONAL SERVICES                                    $ 867,462.50

EXPENSES ADVANCED

Copying

     Date    Task      Description                                                                             Amount
 12/10/21    E101      Copying/Printing                                                                         580.60

                                          Sub-Total of Expenses:                                              $ 580.60

Outside Printing

     Date    Task      Description                                                                             Amount
 11/21/21    E102      Brian A. Glasser; Copies for Brian Glasser                                                7.41

                                          Sub-Total of Expenses:                                                $ 7.41




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Online Research

     Date   Task      Description                                                                             Amount
 12/12/21   E106      Legal Research for November 2021.                                                       1,349.26

                                       Sub-Total of Expenses:                                               $ 1,349.26

Out-of-Town Travel

     Date   Task      Description                                                                              Amount
 11/13/21   E110      Airfare for Kate Charonko 11/14/2021                                                      825.40
 11/13/21   E110      Airfare for Kate Charonko 11/16/2021                                                      318.20
 11/13/21   E110      Airfare fee for Kate Charonko 11/16/2021                                                   29.68
 11/13/21   E110      Airfare for Maggie Burrus 11/14/2021                                                      825.40
 11/13/21   E110      Airfare fee for Maggie Burrus 11/14/2021                                                   29.68
 11/13/21   E110      Talc Complaint Committee. Brian Glaser Train to NYC for meetings.                         321.00
 11/13/21   E110      Cary Joshi; Transportation from meetings in New York to Washington, DC.                   302.00
 11/14/21   E110      Kate Charonko; Rental car for traveling to NY for Creditor Committee Member               189.22
                      Meeting.
 11/15/21   E110      Thomas Bennett; Mileage from Lexington, VA to NYC and back                                471.52
 11/15/21   E110      Talc Complaint Committee. Brian GlasserTrain to NYC for meetings. Return.                 154.00
 11/15/21   E110      Thomas Bennett; Lodging for Tom Bennett                                                   923.02
 11/15/21   E110      Cary Joshi; Transportation to and from meetings.                                           23.00
 11/16/21   E110      Airfare for Maggie Burrus DC to CRW 11/18/2021                                            421.40
 11/16/21   E110      Airfare fee for Maggie Burrus 11/18/2021                                                   29.68
 11/16/21   E110      Brian A. Glasser; Lodging for Brian Glasser                                               855.12
 11/16/21   E110      Airfare for Kate Charonko on 11/16/2021.                                                1,083.20
 11/16/21   E110      Thomas Bennett; Cab Fee for Tom Bennett                                                    19.30
 11/16/21   E110      Thomas Bennett; Parking for Tom Bennett                                                    80.00
 11/16/21   E110      Kate Charonko; Hotel stay for Creditor Committee Meeting.                                 750.60
 11/16/21   E110      Kate Charonko; Airport parking while traveling to NY for Creditor Committee                27.00
                      Member Meeting.
 11/17/21   E110      Airfare Fee for Kate Charonko on 11/16/2021.                                               29.68
 11/17/21   E110      Thomas Bennett; Parking for Tom Bennett                                                    80.00
 11/20/21   E110      Thomas Bennett; Mileage fro Lexington, VA to Princeton, NJ and Trent, NJ and              449.12
                      Back
 11/21/21   E110      Brian A. Glasser; Mileage for Brian Glasser                                               104.90
 11/21/21   E110      Brian A. Glasser; Mileage for Brian Glasser                                              -104.90
 11/21/21   E110      Brian A. Glasser; Fuel for Brian Glasser                                                   65.88
 11/21/21   E110      Thomas Bennett; Lodging for Tom Bennett                                                   341.62


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     Date   Task      Description                                                                              Amount
 11/22/21   E110      Brian A. Glasser; Mileage for Brian Glasser                                                26.53
 11/22/21   E110      Brian A. Glasser; Mileage for Brian Glasser                                               -26.53
 11/22/21   E110      Brian A. Glasser; Parking for Brian Glasser                                                12.00
 11/23/21   E110      Brian A. Glasser; Mileage for Brian Glasser                                                82.14
 11/23/21   E110      Brian A. Glasser; Mileage for Brian Glasser                                               -82.14
 11/23/21   E110      Brian A. Glasser; Lodging for Brian Glasser                                               192.98
 11/30/21   E110      Maggie Burrus; Uber from committee meetings to Penn Station.                               26.53
 11/30/21   E110      Maggie Burrus; Uber to hotel.                                                              16.36
 11/30/21   E110      Maggie Burrus; Uber to client's office for committee meetings.                             26.72
 11/30/21   E110      Maggie Burrus; Hotel room for committee meetings in NYC.                                  980.08
 11/30/21   E110      Maggie Burrus; Uber from Union Station to hotel.                                           15.08
 11/30/21   E110      Maggie Burrus; Hotel in DC for committee projects.                                        549.46
 12/03/21   E110      Robert Bell; mileage to and from Austin Airport from Waco                                 101.92
 12/03/21   E110      Cary Joshi; Transportation from meetings in New York to Washington, DC.                   194.00
 12/03/21   E110      John Turner III; Cab fare from airport for MTD hearing prep                                25.00
 12/03/21   E110      John Turner III; Flight to DC for MTD hearing prep                                        346.48
 12/03/21   E110      Robert Bell; hotel in DC for discovery and trial prep meetings                          1,488.60
 12/03/21   E110      Robert Bell; uber fare from DCA to hotel                                                   23.50
 12/03/21   E110      Robert Bell; airfare from Austin Tx to DC and return for discovery planning and           695.95
                      trial prep
 12/05/21   E110      John Turner III; Parking at airport for MTD hearing prep trip                              81.00
 12/09/21   E110      Robert Bell; cab fare to DCA from hotel                                                    24.08
 12/09/21   E110      Robert Bell; airport parking                                                              119.00
 12/10/21   E110      John Turner III; Flight to DC for MTD hearing prep                                        341.98
 12/10/21   E110      John Turner III; Cab fare to airport for MTD hearing prep                                  25.35

                                       Sub-Total of Expenses:                                              $ 13,930.79

Meals

     Date   Task      Description                                                                              Amount
 11/14/21   E111      Kate Charonko; Dinner while traveling to NY for Creditor Committee Member                  36.40
                      Meeting.
 11/15/21   E111      Thomas Bennett; Meals for Tom Bennett NYC                                                   1.71
 11/15/21   E111      Thomas Bennett; Meals for Tom Bennett NYC                                                  55.91
 11/15/21   E111      Thomas Bennett; Meals for Tom Bennett NYC                                                  11.24
 11/15/21   E111      Thomas Bennett; Meals for Tom Bennett NYC                                                    .52
 11/15/21   E111      Kate Charonko; Breakfast while in NY for Creditor Committee Member                         53.73
                      Meeting.


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     Date    Task     Description                                                                                    Amount
 11/16/21    E111     Kate Charonko; Dinner while traveling home from NY for Creditor Committee                        12.25
                      Member Meeting.
 11/17/21    E111     Thomas Bennett; Meals for Tom Bennett NYC                                                         9.25
 11/20/21    E111     Thomas Bennett; Meals for Tom Bennett NJ                                                          7.53
 11/21/21    E111     Brian A. Glasser; Meals for Brian Glasser NJ                                                      2.53
 11/21/21    E111     Thomas Bennett; Meals for Tom Bennett NJ                                                          4.00
 11/21/21    E111     Thomas Bennett; Meals for Tom Bennett NJ                                                         40.69
 11/21/21    E111     Thomas Bennett; Meals for Tom Bennett NJ                                                         88.97
 11/23/21    E111     Thomas Bennett; Meals for Tom Bennett NJ                                                          8.04
 11/30/21    E111     Maggie Burrus; Breakfast and lunch at Graham DC                                                  68.48
 12/03/21    E111     John Turner III; Meal in connection with the MTD hearing prep trip                               17.32
 12/03/21    E111     Robert Bell; meals while in DC for discovery and trial prep meetings                             80.58
 12/03/21    E111     Robert Bell; hotel meal while in DC for discovery and trial prep meetings                        47.60
 12/06/21    E111     John Turner III; Meal in connection with the MTD hearing prep trip DC                             8.98
 12/08/21    E111     John Turner III; Meal in connection with the MTD hearing prep trip DC                            15.18
 12/09/21    E111     John Turner III; Meal in connection with the MTD hearing prep trip DC                            24.90

                                       Sub-Total of Expenses:                                                       $ 595.81

Court Fees

     Date    Task     Description                                                                                    Amount
 12/01/21    E112     US District Court District of NJ - Pro Hac Vice Fee for B. Glasser and T. Bennett               300.00
 12/03/21    E112     NJ Lawyers' Fund for Client - NJ State Fee for Pro Hac Vice Admission for B.                    424.00
                      Glasser and T. Bennett.
 12/03/21    E112     NJ Lawyers' Fund for Client - NJ State Fee for Pro Hac Vice Admission for T.                    212.00
                      Bennett.
 12/03/21    E112     NJ Lawyers' Fund for Client - NJ State Fee for Pro Hac Vice Admission for B.                   -424.00
                      Glasser and T. Bennett. Void Check # - 000082577
 12/07/21    E112     Jason Kittinger; Court Solutions Fee for hearing on 12/07/2021 at 4:00 p.m.                      50.00
 12/08/21    E112     NJ Lawyers' Fund for Client - NJ State Fee for Pro Hac Vice Admission for B.                    212.00
                      Glasser.

                                       Sub-Total of Expenses:                                                       $ 774.00

Other

     Date    Task     Description                                                                                    Amount
 11/15/21    E124     Thomas Bennett; Toll Fee for Tom Bennett NYC                                                     16.00
 11/17/21    E124     Thomas Bennett; Toll Fee for Tom Bennett NYC                                                      2.25


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     Date     Task     Description                                                                   Amount
 11/17/21     E124     Thomas Bennett; Toll Fee for Tom Bennett NYC                                    3.00
 11/17/21     E124     Thomas Bennett; Toll Fee for Tom Bennett NYC                                    5.45
 11/23/21     E124     Thomas Bennett; NJ Road Toll Fee for Tom Bennett NJ                             3.00
 12/03/21     E124     John Turner DC Lodging on 12/03/2021 12/10/2021.                               700.00

                                        Sub-Total of Expenses:                                      $ 729.70


                                        TOTAL EXPENSES ADVANCED                                  $ 17,967.57

                                        TOTAL THIS INVOICE                                     $ 885,430.07

SUMMARY OF PROFESSIONAL SERVICES

Name                             Init        Staff Level                Hours      Rate               Total
Bell, Robert R.                  RRB         Partner                    78.30    850.00           66,555.00
Clark, Jaclyn S.                 JSC         Associate                   22.80   550.00           12,540.00
Mathews, D. Todd                 DTM         Partner                     43.20   750.00           32,400.00
Turner III, John G.              JGT         Partner                     81.60   850.00           69,360.00
Barrett, Kevin W.                KB          Partner                     50.50   975.00           49,237.50
Basdekis, Thanos                 TB          Of Counsel                  67.40   800.00           53,920.00
Bennett, Thomas B.               TBB         Of Counsel                 95.80    975.00           93,405.00
Burrus, Maggie B                 MBB         Associate                  79.50    550.00           43,725.00
Charonko, Kate E.                KEC         Partner                   109.00    750.00           81,750.00
Clackler, Tony L.                TLC         Associate                  58.30    550.00           32,065.00
Dennis, Melissa D                MDD         Paralegal                   6.40    325.00            2,080.00
Glasser, Brian A.                BAG         Partner                   185.70    975.00          181,057.50
Joshi, Cary L                    CLJ         Partner                   101.20    750.00           75,900.00
Kittinger, Jason E.              JEK         Paralegal                  33.60    325.00           10,920.00
McAllister, Brian J.             BJM         Associate                  16.10    550.00            8,855.00
Rios, Manuel R.                  MRR         Paralegal                    3.90   325.00            1,267.50
Selby, David L.                  DLS         Partner                     69.90   750.00           52,425.00
TOTALS                                                                1,103.20                  $ 867,462.50




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TASK SUMMARY OF PROFESSIONAL SERVICES

Task        Description                                            Hours             Amount
B110        B110 Case Administration                               87.10            60,522.50
B140        B140 Relief from Stay/                                  9.40             8,535.00
B150        B150 Meetings of and                                  118.90            96,867.50
B160        B160 Fee/Employment Applic                             10.30            10,042.50
B170        B170 Fee/Employment Objections                          1.20               995.00
B190        B190 Other Contested Matters                          811.40           637,107.50
B195        B195 Non Working Travel                                 64.90           53,392.50
            Time total                                       $ 867,462.50



TASK SUMMARY OF EXPENSES ADVANCED

Task                Description                                                       Amount
E101                Copying                                                             580.60
E102                Outside Printing                                                      7.41
E106                Online Research                                                   1,349.26
E110                Out-of-Town Travel                                               13,930.79
E111                Meals                                                               595.81
E112                Court Fees                                                          774.00
E124                Other                                                               729.70
                    Expense total                                                  $ 17,967.57




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 209 Capitol Street
 Charleston, WV 25301
 Tel: 304.345.6555
 Toll Free: 877.852.0342
 Fax: 304.342.1110

                                                                                                     December 18, 2021

LTL Management Talc Creditors' Committee                                                    Invoice #:          86189
                                                                                            Client #:         TCC0001
                                                                                            Matter #:         2003717


RE:     LTL Bankruptcy


                                              REMITTANCE ADVICE

                         BALANCE DUE THIS INVOICE                                     $ 885,430.07

                         AMOUNT PAID WITH THIS REMITTANCE           $____________________.____



If paying by check, please return                              Bailey & Glasser LLP
this page with payment to:                                     ATTN: Accounts Receivable
                                                               209 Capitol Street
                                                               Charleston, WV 25301
                                                               (304) 345-6555

                                     Operating Account Wire Transfer Instructions

                                   Receiving Bank ABA:         083901896
                                  Receiving Bank Name:         Bankers Bank of Kentucky
                                Receiving Bank Address:        107 Progress Drive
                                                               Frankfort, KY

                                  Beneficiary Bank ABA:        044202505
                           Beneficiary Bank Account No.        203159
                                Beneficiary Bank Name:         Peoples Bank
                              Beneficiary Bank Address:        138 Putnam Street
                               Receiving Bank Address:         Marietta, OH 45750

                                           Beneficiary:        Bailey & Glasser LLP
                                      Account Number:          8400005222
